STATE OF NORTH CAROLINA                                 IN THE GENERAL COURT OF JUSTICE
                                                              SUPERIOR COURT DIVISION
COUNTY OF WAKE                                                         24CV040620-910

                                                    )
JEFFERSON GRIFFIN,                                  )
                                                    )
                        Petitioner,
                                                    )       STATE BOARD'S RESPONSE IN
                                                    )             OPPOSITION TO
                                                    )       PETITIONER'S PETITION FOR
NORTH CAROLINA STATE BOARD OF                       )                JUDICIAL REVIEW
ELECTIONS,                                          )

                        Respondent.                 )

       NOW COMES Respondent, the North Carolina State Board of Elections (""Respondent"

or "State Board"), to respond in opposition to the Petition for Judicial Review filed by Petitioner

Judge Jefferson Griffin on December 20, 2024. For the reasons explained below, the Court

should affirm the agency decision challenged by the Petition and deny the Petition for Judicial

Review.

                                        INTRODUCTION

       The petition should be denied for three threshold reasons.

       First, Petitioner's request that this Court retroactively change election rules to alter the

result in his recent election violates North Carolina's version of the Purcell principle. As Justice

Dietz has explained, the Purcell principle "recognizes that as elections draw near, judicial

intervention becomes inappropriate because it can damage the integrity of the election process."

Am. Order at 1 (Jan. 7, 2025) (Dietz, J., dissenting). Strict, dispassionate adherence to this

doctrine "protects the State's interest in running an orderly, efficient election" and preserves the

public's "confidence in the fairness of the election." Democratic Nat'l Comm. v. Wisc. State

Legislature, 141 S. Ct. 28, 31 (2020) (Kavanaugh, J., concurring).




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           Electronically                                   County          Superior Court
       The circumstances of this case call out for application of the Purcell principle. Petitioner,

like all candidates, has the right to file post-election protests claiming that irregularities occurred

during the course of the election. But Petitioner does not claim here that the Board counted votes

in violation of the rules in place at the time of the election. He instead seeks to retroactively

change longstanding election rules by bringing novel legal claims—including claims that would

require courts to strike down statutes passed by the General Assembly. And the result would be

to retroactively disenfranchise more than 65,000 voters, many of whom have been voting in

North Carolina elections without controversy for decades. Under Purcell, these claims can and

should be litigated on a going-forward basis. But it is far too late to alter the rules of an election

that has already taken place.

       Our Supreme Court’s decision in James v. Bartlett is not to the contrary. 359 N.C. 260,

607 S.E.2d 638 (2005). In that case, as Justice Dietz has explained, the Board decided to count

certain ballots that were “unlawful under the election rules that existed at the time of the

election.” Order at 1 (Jan. 22, 2025). In this case, “by contrast, the State Board of Elections

complied with the election rules existing at the time of the election.” Id. at 2. Unlike in James,

therefore, the Purcell principle applies here because Petitioner is seeking to cancel votes by

retroactively changing the rules of an election after that election took place.

       Second, Petitioner’s requested remedy would violate the Fourteenth Amendment as well

as North Carolina Supreme Court precedent. As several federal courts have held, it is flatly

unconstitutional for a court to retroactively cancel votes that were cast in compliance with

official guidance from election officials. See, e.g., Griffin v. Burns, 570 F.2d 1065, 1075-76 (1st

Cir. 1978); Hendon v. N.C. State Bd. of Elections, 710 F.2d 177, 182 (4th Cir. 1983). This is true

even when that guidance turned out to be inaccurate. See Burns, 570 F.2d at 1075-76. When



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voters have cast ballots in accordance with “the instructions of the officials charged with running

the election,” it violates due process to cancel their votes. Id.

       North Carolina Supreme Court precedent is even more directly on point. The Court has

twice specifically held that it is unlawful to discount votes based on alleged noncompliance by

election officials during the registration process. See Woodall v. Western Wake Highway

Comm’n, 176 N.C. 377, 388-89, 97 S.E. 226, 231-32 (1918); Overton v. Mayor of

Hendersonville, 253 N.C. 306, 315-16, 116 S.E.2d 808, 815 (1960). These precedents recognize

that when a lawful voter casts a ballot after being registered, it would be “hostile to the free

exercise of the right of franchise” to cancel their ballot merely because “the voter may not

actually have complied entirely with the requirements of the registration law.” Woodall, 176

N.C. at 388-89, 97 S.E. at 231-32.

       Petitioner’s requested remedy is unconstitutional for another reason as well. As the U.S.

Supreme Court has held, it violates the federal Equal Protection Clause to arbitrarily “value one

person’s vote over that of another.” Bush v. Gore, 531 U.S. 98, 104-05 (2000) (per curiam). But

Petitioner asks this Court to do just that. He specifically seeks to cancel votes of people who he

claims are improperly registered, but only those who voted absentee or early in-person—leaving

intact the votes of identically situated persons who voted on election day. Likewise, Petitioner

seeks to cancel the votes of military and overseas voters who did not submit a copy of their photo

ID along with the absentee ballot application supplied by the federal government for such voters.

But he asks that only such voters from four large, urban counties have their votes cancelled. All

the other identically situated voters in the State’s other 96 counties, according to Petitioner,

should continue to have their ballots counted. Granting this arbitrary request would clearly

violate the Equal Protection Clause.



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       Third, Petitioner’s protests should be denied because he failed to provide voters with

adequate notice that he was challenging their votes. To comply with procedural due process,

notice must be “reasonably calculated, under all the circumstances, to apprise interested parties

of the pendency of [a matter] and afford them an opportunity to present their objections.”

Mullane v. Cent. Hanover Bank & Tr., Co., 339 U.S. 306, 314 (1950). Petitioner failed to do so

here. Challenged voters were mailed a postcard stating that their votes may be subject to a

protest, along with a QR code that, when scanned with a smartphone, linked to a list of hundreds

of protests, many of which contained thousands of names, out of alphabetical order, on hundreds

of pages. Because this form of notice guarantees that a “significant number” of voters would not

understand their votes were being challenged, it violates procedural due process. Greene v.

Lindsey, 456 U.S. 444, 453 (1982).

       For each of these independent reasons, the petition should be denied at the threshold.

Petitioner’s claims can and should instead be resolved on a prospective basis. But even if this

Court were inclined to consider the merits of Petitioner’s protest in this posture, it would fail on

the merits.

       Petitioner claims that over 60,000 voters should have their votes disregarded because

they allegedly registered to vote improperly under the federal Help America Vote Act (HAVA)

and its state law analog. But Petitioner has failed to establish probable cause to believe that any

challenged voter actually registered to vote and cast ballots in violation of the law. HAVA and

corresponding state law explicitly contemplate numerous situations in which a voter may

lawfully register and vote, even though their records lack a social security or driver’s license

number in the Board’s database. For example, some challenged voters registered before HAVA

was even enacted, and nothing in HAVA requires previously registered voters to provide an



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identification number to remain on the rolls. As another example, HAVA and state law

explicitly allow voters to register without providing an identification number, if they lack such

numbers. And yet another example: HAVA and state law recognize that, due to database-

matching errors, many voters who did, in fact, provide an identification number at registration

may not have that number reflected in the Board’s database. HAVA and state law therefore

provide that these voters also may vote if they show a HAVA ID before voting for the first time.

       Because Petitioner failed to satisfy his burden to show that any individual voter whose

registration records lack an identification number actually was ineligible to register and vote, the

Board correctly dismissed Petitioner’s first protest. Indeed, in response to Petitioner’s arguments

here and in other post-election litigation, the Board conducted a preliminary data analysis

showing that at least half of the voters that Petitioner challenges (and likely many more) actually

did provide a driver’s license or social security number on their voter-registration form or were

not required by law to do so. This preliminary data analysis only confirms that Petitioner failed

to meet his burden of showing probable cause that any individual challenged voter was ineligible

to register and vote.

       For these reasons, Petitioner’s protest fails on the merits. But even if this Court were to

disregard all of the above and conclude that Petitioner’s protests state valid claims for relief,

Petitioner is wrong that this Court can skip past factfinding and the Board’s remedial process and

award him the election. Below, the Board dismissed Petitioner’s protests at the preliminary

stage—akin to a dismissal on the pleadings. Thus, the only remedy available to Petitioner at this

stage would be a remand to the Board for further proceedings, including an evidentiary hearing.

At that evidentiary hearing, the State Board or county boards could conduct any necessary




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factfinding on an individualized basis     rather than disenfranchising more than 60,000 voters en

masse as Petitioner demands,

          In sum, this Court should deny the petition outright as procedurally and constitutionally

defective. But even if this Court were to consider Petitioner's arguments, those arguments fail

on the merits. And even if this Court were to consider and agree with the merits of Petitioner's

claims, the only proper relief would be a remand to the Board.

                                     STATEMENT OF FACTS
          A,     Petitioner files hundreds of election protests.

          Petitioner Judge Jefferson Griffin and Intervenor Associate Justice Allison Riggs were

candidates in the statewide 2024 general election for Associate Justice on the North Carolina

Supreme Court. Final canvassed results show Justice Riggs prevailed by 734 votes.!

          On November 19, 2024, Petitioner filed hundreds of election protests throughout the State

challenging the election results, alleging that certain voters' ballots were invalid. (Agency R p

5369) In his protests, Petitioner challenged, among others, the following three categories of

voters:


                 60,273 ballots cast by registered voters with allegedly incomplete voter
                 registrations. However, these challenged ballots include only those cast by
                 individuals who voted early or voted absentee. They do not include tens of
                 thousands of identically situated ballots cast in-person on election day."




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        NC SBE Election Contest Details, N.C. State Bd. of Elections, bit.ly/3PA7RO6P (last
visited Feb. 3, 2025).

       (See Agency R pp 21-64, 81-116, 133-47, 164-232, 249-87, 304-48, 375-94, 411-40, 457-
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88, 505-40, 526-40, 557-660, 677-98, 715-56, 773-830, 857-72, 889-929, 979-98, 1015-101,
1128-48, 1165-237, 1248-70, 1287-367, 1388-401, 1418-503, 1568-88, 1605-51, 1668-738,
1755-80, 1797-815, 1832-83, 1900-17, 1934-55, 1972-2008, 2024-74, 2091-253, 2270-88, 2305-
37, 2354-400, 2411-26, 2443-73, 2491-547, 2564-600, 2617-33, 2650-99, 2716-31, 2748-88,
2805-81, 2898-936, 2953-3024, 3041-87, 3103-77, 3210-398, 3415-90, 3507-62)


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        e      1,409 votes cast by military and overseas voters registered in Guilford
               County who did not include a copy of a photo identification with their
               ballots. He also challenged similar votes in three additional counties
               (Buncombe, Durham and Forsyth), but did not identify specific voters.*

        e      266 ballots cast by overseas citizens who voted absentee and who have
               never resided in the United States.4

       B.      The Board takes jurisdiction over three categories of protests.

        When an election protest is filed with a county board, the State Board may take

jurisdiction over the protest and resolve it in the first instance. N.C. Gen. Stat. § 163-182.12. On

November 20, the Board voted unanimously to take jurisdiction over the three categories of

protests listed above, which "presented legal questions of statewide significance." (Agency R p

5371) The Board instructed county boards to consider Petitioner's other protests, "which were

focused on individual, fact-specific determinations of voter eligibility."> (Agency R p 5371)




        (See Agency R pp 349-58, 1102-11, 1238-47, 1504-51) Petitioner initially challenged
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voters in Cumberland and New Hanover counties as well, but declined to pursue these
challenges. (See Agency R pp 831-40, 2401-10)

       (See Agency R pp 5-20, 65-80, 148-63, 233-48, 288-303, 359-74, 395-410, 441-56, 489-
4

504, 441-56, 489-504, 541-56, 661-76, 699-714, 752-72, 841-56, 873-88, 930-45, 963-78, 999-
1014, 1112-27, 1149-64, 1271-86, 1402-17, 1552-67, 1589-604, 1652-67, 1739-54, 1781-96,
1816-31, 1889-99, 1918-33, 1956-71, 2009-23, 2073-90, 2254-69, 2289-2304, 2338-53, 2427-
42, 2474-90, 2548-63, 2601-16, 2634-49, 2700-15, 2732-47, 2789-2804, 2882-97, 2937-52,
3025-40, 3088-102, 3178-209, 3399-414, 3419-506)
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        The remaining three categories of protests challenged ballots allegedly cast by voters (1)
who were serving a felony sentence; (2) who were deceased; and (3) whose registrations were
denied or removed. (Agency R p 5371) On December 27, 2024, the Board dismissed these
protests for failure to substantially comply with service requirements and because they
challenged an inadequate number of votes to change the outcome of the contest. N.C. State Bd.
of Elections, Decision and Order at 1-2 (Dec. 27, 2024). Petitioner declined to appeal that
decision to this Court by the January 9, 2025 statutory deadline. See N.C. Gen. Stat. § 163-
182.14(b). As a result, the Board was required by statute to certify the election by January 10,
2025 absent a court order. See id. On January 7, 2025, the North Carolina Supreme Court issued
a Stay of the statutory certification deadline. Am. Order at 2.


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       After this meeting, Petitioner filed additional untimely protests after the statutory

deadline. See N.C. Gen. Stat. § 163-182.9(b)(4). These protests sought to add additional ballots

to Petitioner's challenges with respect to the second and third categories listed above.

        With respect to the third category, Petitioner tried to update his protests by newly

challenging the votes of4,100 military and overseas voters in Buncombe, Durham, and Forsyth

counties. (Agency R pp 3790-926, 4006-42) He did not, however, seek to challenge the more

than 25,000 identically situated voters across the State.®

        C.     The Board dismisses the protests.

       Having taken jurisdiction over the protests initially filed with a county board, the Board

followed the same procedures for resolving the protests as the county boards would have. See

N.C. Gen. Stat. §§ 163-182.10, -182.11(b), -182.12. Those procedures first require the Board to

give the protest "preliminary consideration." N.C. Gen. Stat. § 163-182.10(a). At this

preliminary consideration stage, the Board must answer two questions. First, did the protest

comply with the protest-filing requirements in N.C. Gen. Stat. § 163-182.9? Id Second, did the

protest "establish[] probable cause to believe that a violation of election law or irregularity or

misconduct has occurred"? /d. For a protest to proceed beyond the preliminary consideration

stage, the Board must answer both questions in the affirmative. Jd.

       Protests that meet these preliminary requirements then proceed to an evidentiary hearing.

Id. §§ 163-182.10(a), (c)-(d). Following this hearing, the Board must issue a "written decision"

with findings of fact and conclusions of law. Jd. § 163-182.10(d). The findings of fact must be

"based exclusively on the evidence" presented at the hearing "and on matters officially noticed."

Id. § 163-182.10(d)(1). The conclusions of law must be based on whether there is "substantial


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       Petitioner did not include in the appendix to his petition the protests for seven additional
counties that he filed on the second category.

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evidence of a violation, irregularity or misconduct sufficient to cast doubt on the results of the

election.” See id. §§ 163-182.10(d)(2)(a)-(e).

       If the Board finds substantial evidence of a violation, the Board may correct vote totals,

order a recount, or take “[a]ny other action within [its] authority.” See id. § 163-182.10(d)(2)(e);

see also id. § 163-182.12. In addition, under certain circumstances, the Board may order a new

election. Id. § 163-182.13. Decisions of the State Board may be appealed to Wake County

Superior Court. Id. § 163-182.14.

       In line with this procedure, on December 11, 2024, the Board held a public meeting to

consider the protests over which it had retained jurisdiction. (Agency R p 5368) Two days later,

the Board dismissed the protests at the “preliminary consideration” stage—concluding both that

Petitioner had failed to comply with procedural filing requirements, and that he had failed to

establish “probable cause” of a violation of law. (Agency R pp 5368-410) With respect to all

three categories of protests, the Board held that Petitioner “failed to serve” affected voters, in

violation of the North Carolina Administrative Code and “the requirements of constitutional due

process.” (Agency R p 5373) The Board reasoned that Petitioner’s chosen method of service—a

postcard with a QR code—did not provide affected voters adequate notice that their vote was

being challenged. (Agency R pp 5378-381)

       The Board also recognized that the additional protests that Petitioner filed after the

deadline “may not have been timely filed under [section] 163-182.9(b)(4),” but did not decide

whether these protests were timely since it “dismiss[ed] these protests for other reasons.”

(Agency R p 5373 n.4)

       The Board then examined each category of protests individually, outlining the reasons

why each protest was “legally invalid.” (Agency R p 5407) Pertinent to this appeal, on the first



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category of protests about alleged incomplete voter registrations, the Board held that the federal

Help America Vote Act (HAVA) foreclosed Petitioner’s requested relief to cancel the votes of

affected voters. (Agency R pp 5381-87, 5394) The Board further held that, “to the extent there

is a potential violation of HAVA involved in registration of voters in the past, it was remedied

consistent with a separate provision of HAVA.” (Agency R p 5387) That “separate provision . .

. states that a new voter registration applicant must provide an alternative form of identification

before or upon voting for the first time, if the state did not have a system complying with the

requirement to collect a driver’s license number or last four digits of a social security number.”

(Agency R p 5386 (citing 52 U.S.C. § 21083(b)(1)-(3))

       The Board also noted the recent decision of the U.S. District Court for the Eastern

District of North Carolina in Republican National Committee v. North Carolina State Board of

Elections, No. 5:24-cv-00547, slip op. at 4 (E.D.N.C. Nov. 22, 2024)—a case in which the

federal court denied the plaintiffs in that case relief similar to what Petitioner seeks here.

(Agency R p 5387) Acknowledging the federal court’s reasoning that “there had been no

meaningful opportunity for the voters at issue to address any potential deficiency far enough in

advance of the election to comply with the law,” the Board similarly concluded that votes cannot

be invalidated after an election when eligible voters complied with all the instructions they had

been given when they registered and voted. (Agency R pp 5387-92) Doing so, the Board held,

would violate “substantive due process protections under the U.S. Constitution.” (Agency R pp

5390-92)

       The Board also rejected Petitioner’s protests as to the votes of military and overseas

voters who did not include a copy of their photo identification with their ballots. (Agency R p

5399) One of its administrative rules, the Board explained, expressly provides that these voters



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were “not required to submit a photocopy of acceptable photo identification” with their absentee

ballots. (Agency R pp 5403-04 (citing 08 N.C. Admin. Code 17 .0109(d))).

       The Board further explained that absentee voting by military and overseas voters is

governed by the Uniform Military and Overseas Voters Act (UMOVA), a law unanimously

passed by the General Assembly in 2011, which allows these voters to use special procedures to

register to vote, request an absentee ballot, and submit an absentee ballot. See (Agency R pp

5399-403); N.C. Gen. Stat. §§ 163-258.1 et seq. These procedures, the Board noted, do not

require military and overseas voters to include a copy of their photo identification when

submitting their absentee ballot. (Agency R pp 5399-401) Moreover, because these procedures

originate under the federal Uniformed and Overseas Citizens Absentee Voting Act (UOCAVA),

which UMOVA applies to state elections, the Board concluded that imposing an identification

requirement on voters covered by UOCAVA that is inconsistent with federal law would likely

violate the Supremacy Clause of the U.S. Constitution. (Agency R pp 5404-06)

       The Board also rejected Petitioner’s protests as to overseas voters who have never resided

in the United States but whose parents had been North Carolina residents. (Agency R p 5396)

In dismissing this category of protests, the Board noted that UMOVA “specifically authorized

U.S. citizens who have never lived in the United States to vote in North Carolina elections if they

have a familial connection to this state.” (Agency R pp 5396-97) The Board elected not to

“ignore” this state statute. (Agency R p 5396)

       D.      Petitioner files petitions for judicial review, and the Board removes to federal
               court.

       On December 20, 2024, Petitioner filed three petitions for judicial review in this Court of

the three categories of protests over which the Board took jurisdiction. See Griffin v. N.C. State

Bd. of Elections, No. 24CV040622-910 (Wake Cnty. Sup. Ct.); Griffin v. N.C. State Bd. of


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Elections, No. 24CV040619-910 (Wake Cnty. Sup. Ct.); Griffin v. N.C. State Bd. of Elections,

No. 24CV040620-910 (Wake Cnty. Sup. Ct.). The Board removed those petitions to federal

court. See Griffin v. N.C. State Bd. of Elections, No. 5:24-cv-00731 (“Griffin II”), D.E. 1

(E.D.N.C.). On January 6, 2025, the district court sua sponte remanded the three petitions for

judicial review to this Court, Griffin II, D.E. 24, 25, in light of its decision to remand Petitioner’s

petition for a writ of prohibition to the North Carolina Supreme Court in Griffin v. North

Carolina State Board of Elections, No. 5:24-CV-00724-M-RN (Griffin I) (E.D.N.C.). One of

these three petitions for judicial review addresses the category of protests concerning alleged

incomplete voter registrations, and that is the petition that is before this Court in this case.

        Respondent appealed the district court’s remand decisions in both Griffin I and Griffin II

to the U.S. Court of Appeals for the Fourth Circuit. Griffin I, D.E. 52; Griffin II, D.E. 26. The

Board moved in the Fourth Circuit for a temporary administrative stay and stay pending appeal

in each case, on which the Fourth Circuit has yet to rule. No. 25-1018 (4th Cir.), D.E. 10; No. 25-

1020 (4th Cir.), D.E. 7. In Griffin I, the Fourth Circuit granted Intervenor Justice Riggs’ motion

for expedited review, setting a schedule that had that appeal briefed and argued by January 27,

2025. See No. 25-1018 (4th Cir.), D.E. 18, 33. The day after oral argument took place in Griffin

I, the Fourth Circuit granted Justice Riggs’ motion to intervene in Griffin II. No. 25-1020 (4th

Cir.), D.E. 19.

        On January 7, 2025, the North Carolina Supreme Court issued an order granting

Petitioner’s motion for a temporary stay of the certification of the election and setting an

expedited briefing schedule. Am. Order (Jan. 7, 2025). On January 22, 2025, the North Carolina

Supreme Court issued an order dismissing Petitioner’s petition for a writ of prohibition, calling

for the three categories of election protests that were the subject of the State Board’s decision to



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first undergo the statutorily prescribed appeal procedure. Order at 2-3 (Jan. 22, 2025). Thus, the

Court ordered, the petitions for judicial review that were filed in Wake County Superior Court in

accordance with such procedure are to proceed "expeditiously." Jd. at 3. The Court further

ordered that the stay of certification remains in effect. Id.

                                    STANDARD OF REVIEW

        Because the appeal of a State Board's decision on an election protest to this Court is one

seeking review of a final agency decision, that review is governed by Chapter 150B where not

otherwise provided for in those General Statutes specifically governing election protest

proceedings. See generally N.C. Gen. Stat. § 150B-43; see also id., § 150B-2(1b) (defining

"agency"').

        "When the trial court exercises judicial review over an agency's final decision, it acts in

the capacity of an appellate court." N.C. Dep't of Env't & Nat. Res. v. Carroll, 358 N.C. 649,


662, 599 S.E.2d 888, 896 (2004); see also N.C. Gen. Stat. § 150B-51(c) (providing that the

superior court "shall determine whether the petitioner is entitled to the relief sought in the

petition based upon its review of the final decision and the official record"). When a petitioner

contends a "board's decision was based on an error of law, de novo review is proper." Mann

Media, Inc. v. Randolph Cnty. Plan. Bd., 356 N.C. 1, 13, 565 S.E.2d 9, 17 (2002) (cleaned up).

                                            DISCUSSION

I.      Petitioner's Requested Relief Violates the Purcell Principle.

        The petition should be denied for a threshold reason: The relief that Petitioner seeks is

foreclosed by the Purcell principle. See Purcell v. Gonzalez, 549 U.S. 1 (2006) (per curiam).




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        A.      Purcell is a neutral rule of judicial restraint that guards against late-breaking
                judicial changes to election rules.

        The Purcell principle “reflects a bedrock tenant of election law: When an election is

close at hand, the rules of the road must be clear and settled.” Merrill v. Milligan, 142 S. Ct.

879, 880-81 (2022) (Kavanaugh, J., concurring). “Late judicial tinkering with election laws can

lead to disruption and to unanticipated and unfair consequences for candidates, political parties,

and voters, among others.” Id. at 881. A state therefore has an “extraordinarily strong interest in

avoiding late, judicially imposed changes to its election laws and procedures.” Id. For that

reason, courts recognize “the general rule that denies relief with respect to past elections,” but

that the “corollary to judicial reluctance to interfere with election results is the obligation to

afford prospective relief.” Hendon v. N.C. State Bd. of Elections, 710 F.2d 177, 182 (4th Cir.

1983) (emphasis added).

        Given these concerns, Purcell serves as an “important principle of judicial restraint.”

Democratic Nat’l Comm. v. Wis. State Legislature, 141 S. Ct. 28, 31 (2020) (Kavanaugh, J.,

concurring). Adhering to Purcell “protects the State’s interest in running an orderly, efficient

election and in giving citizens (including the losing candidates and their supporters) confidence

in the fairness of the election.” Id. It “also discourages last-minute litigation and instead

encourages litigants to bring any substantial challenges to election rules ahead of time, in the

ordinary litigation process.” Id.

        To be sure, the Purcell principle is a federal rule that applies to federal courts. But “[the

North Carolina Supreme] Court has long acknowledged a state version of Purcell (although not

always by name).” Am. Order at 5 (Jan. 7, 2025) (Dietz, J., dissenting). The Court first

recognized the principle just one year after Purcell was decided, in Pender County v. Bartlett,

361 N.C. 491, 649 S.E.2d 364 (2007). In that case, the Court held that a state house district was


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not required under the Voting Rights Act and thus had to comply with our state constitution’s

whole county provision. Id. at 510, 649 S.E.2d at 376. The Court accordingly ordered the

General Assembly to redraw the district. Id. The Court also recognized, however, that

candidates had already been preparing for the upcoming 2008 election “in reliance upon the

districts as presently drawn.” Id. As a result, “to minimize disruption to the ongoing election

cycle,” the Court stayed its order requiring the General Assembly to redraw the district “until

after the 2008 election.” Id.

       Several Justices of the North Carolina Supreme Court have since emphasized the

importance of this principle. E.g., Am. Order at 5 (Jan. 7, 2025) (Dietz, J., dissenting); Holmes

v. Moore, 382 N.C. 690, 691, 876 S.E.2d 903, 904 (2022) (Newby, C.J., dissenting) (citing

Purcell and dissenting from expedited consideration given an “impending” election); Harper v.

Hall, 382 N.C. 314, 319, 874 S.E.2d 902, 906 (2022) (Barringer, J., dissenting) (stating that

expedited consideration of challenge to state election rules “would appear to be a clear violation

of the Supreme Court of the United States’ ‘repeated emphasis’ that ‘courts ordinarily should not

alter state election laws in the period close to an election’” (cleaned up) (quoting DNC, 141 S.

Ct. at 30) (Kavanaugh, J., concurring)).

       B.      If ever there were a case that called for applying the Purcell principle, this
               case is it.

       It is difficult to imagine a case that more squarely calls for Purcell’s application. To

begin, there can be no doubt that this case involves a challenge to election rules in a period close

to the election—and that “the changes in question” are not “feasible before the election.”

Merrill, 142 S. Ct. at 881 (Kavanaugh, J., concurring). The election concluded two months ago,

followed by multiple recounts confirming the winner. To change the rules of the election now—

months after millions of North Carolinians have already cast their ballots—would


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"fundamentally alter[] the nature of the election" and "gravely affect the integrity of the election

process." See Republican Nat'l Comm. v. Democratic Nat'l Comm., 589 U.S. 423, 424-25

(2020) (per curiam). That is exactly the intolerable outcome the Purcell principle seeks to avoid.

       Moreover, Petitioner unduly delayed challenging the election rules. See id. Petitioner,

like all candidates, has every right to bring post-election protests over alleged irregularities in the

election process. But Petitioner here is attempting to cancel votes based on the Board following

longstanding election rules and practices. That kind of post-election protest seeking to change

the rules of the game after it has been played violates Purcell.


        Specifically here, Petitioner challenges voters who lack a driver's license or social

security number in the Board's database. But it is undisputed that the voter-registration form that

he contests was in place long before this election     with affected voters likely casting at least

hundreds of thousands (and possibly millions) of ballots without challenge during that time.' It

was not until October 2023 when a voter took issue with the form. (Agency R p 4825) In

December 2023, the Board concluded that "the appropriate remedy is to implement changes

recommended by staff to the voter registration application form and any related materials" only

on a going-forward basis. (Agency R p 4828-29) Petitioner thus had almost a year before the

election to challenge this decision. He did not. Purcell bars Petitioner from waiting until after

the election to challenge this rule. See Little v. Reclaim Idaho, 140 S. Ct. 2616, 2617 (2020)


(Roberts, C.J., concurring) (party challenging election rule "delayed unnecessarily its pursuit of

relief until more than a month after the deadline for submitting signatures").




7
        While this case was in federal court, intervenors filed affidavits from voters whose votes
Petitioner has challenged. Those voters affirmed that they most recently registered to vote in
2009, 2014, and 2020 and had regularly voted since without issue until Petitioner challenged
their votes. See Griffin, No. 5: 24-cv-00724, D.E. 24-2, 24-3, 24-4 (E.D.N.C.).

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       In this way, Purcell is an election-law analog to laches. Crookston v. Johnson, 841 F.3d

396, 398 (6th Cir. 2016) (Sutton, J.) (“Call it what you will—laches, the Purcell principle, or

common sense—the idea is that courts will not disrupt imminent elections absent a powerful

reason for doing so.”). For example, the Wisconsin Supreme Court has applied laches to bar

post-election challenges to roughly 220,000 votes under Wisconsin’s election-protest statute.

Trump v. Biden, 951 N.W.2d 568, 570 (Wis. 2020). The court explained that “the proposition

that laches may bar an untimely election challenge . . . appears to be recognized and applied

universally.” Id. at 572-73 & n.7 (collecting cases). Applying this principle, the court found

unreasonable delay in bringing election challenges when those challenges similarly concerned

events and rules in place long before the start of the election. Id. at 575 (“Waiting until after an

election to challenge the sufficiency of a form application in use statewide for at least a decade is

plainly unreasonable.”); id. (same for challenge to election-agency guidance “relied on in 11

statewide elections” since 2016). “The time to challenge election policies,” the court explained,

“is not after all ballots have been cast and the votes tallied.” Id. at 575-76. Rather, “[p]arties

bringing election-related claims have a special duty to bring their claims in a timely manner.” Id.

at 577. “Failure to do so affects everyone, causing needless litigation and undermining

confidence in the election results.” Id. The Wisconsin Supreme Court’s decision is on all fours

here. Petitioner here was on notice long before the election of the rules that he now contests.

       Making the changes that Petitioner requests at this late date will also come at “significant

cost, confusion, [and] hardship.” Merrill, 142 S. Ct. at 881 (Kavanaugh, J., concurring).

Accepting Petitioner’s arguments would create “chaos for candidates, campaign organizations,

independent groups, political parties, and voters”—in this and future elections. Id. at 880.

“Permitting post-election litigation that seeks to rewrite our state’s election rules—and, as a



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result, remove the right to vote in an election from people who already lawfully voted under the

existing rules—invites incredible mischief.” Am. Order at 5 (Jan. 7, 2025) (Dietz, J., dissenting).

“It will lead to doubts about the finality of vote counts following an election, encourage novel

legal challenges that greatly delay certification of the results, and fuel an already troubling

decline in public faith in our elections.” Id.

       To be clear, nothing in the Board’s arguments here means that “the legal issues presented

are foreclosed from further judicial scrutiny.” Trump, 951 N.W.2d at 577 n.11. Purcell does not

bar Petitioner from seeking forward-looking relief for future elections if he challenges the rules

sufficiently in advance of the next election. Hendon, 710 F.2d at 182. In fact, this protest is the

subject of other pending lawsuits, outside of the context of this particular case, that seek changes

to the State’s election rules for future elections. For example, plaintiffs in a case pending before

the U.S. District Court for the Eastern District of North Carolina are currently seeking

prospective relief of this kind with respect to the alleged HAVA violations here. Republican

Nat’l Comm., slip op. at 4 (Purcell does not apply when a plaintiff “seek[s] prospective relief

unconnected with the most recent election.”). Thus, applying Purcell here will not immunize

these or other future election challenges from judicial review. Many are currently being

litigated, and can be resolved in plenty of time before voters next go to the polls.

       Nor does Purcell foreclose challenges based on unanticipated events that take place

during an election. Because the Purcell principle seeks to ensure clear and settled election rules,

it does not apply to claims arising from unforeseen election-day errors or improprieties. When a

party brings “claims . . . of improper electoral activity”—rather than “issues that arise in the

administration of every election”—those claims do not face the Purcell bar because the party




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lacked advance notice of the alleged impropriety. See Trump, 951 N.W.2d at 577 (drawing this

distinction for purposes of evaluating undue delay).

       But the Purcell principle recognizes that changing election rules mid-stream—or, even

worse, after the fact—“fundamentally alters the nature of the election” and “gravely affect[s] the

integrity of the election process.” Republican Nat’l Comm., 589 U.S. at 424-25; see also, e.g.,

Am. Order at 5 (Jan. 7, 2025) (Dietz, J., dissenting) (“[O]nce people are actually voting in the

election, it is far too late to challenge the laws and rules used to administer that election.”). For

this reason, the Supreme Court has repeatedly invoked the Purcell principle after votes have

already been cast. In so doing, the Court has made clear that any votes that were cast that

complied with the election rules in place at the time may not be thrown out. See Andino v.

Middleton, 141 S. Ct. 9, 9-10 (2020) (invoking Purcell to stay an injunction that had been

entered against a state election rule, but expressly ordering that ballots cast before the stay “may

not be rejected for failing to comply” with the reinstated election rule).

       As this decision recognizes, moreover, Purcell continues to apply even if the challenger’s

underlying claims may have merit. Under Purcell, the proper posture for litigating election

claims is prospectively, not retrospectively. Thus, in many cases, courts have applied Purcell

even while “recogniz[ing] and respect[ing] the seriousness of the [challenger’s] claim.” Liddy v.

Lamone, 919 A.2d 1276, 1290 (Md. 2007); compare also, e.g., Merrill, 142 S. Ct. at 882

(Kavanaugh, J., concurring) (applying Purcell while emphasizing that any change to election

rules “can take effect for congressional elections that occur after [the election]”), with Allen v.

Milligan, 599 U.S. 1, 42 (2023) (later affirming change to election rules and permitting it to take

place for future elections). The Purcell principle thus applies here, regardless of this Court’s




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views on the merits of Petitioner’s arguments. Those arguments can be considered in due course

before the next election cycle.

       As Judge Dever recently put it in a case involving a similar effort to rewrite the State’s

election rules close to an election, the Purcell principle is a “heavy gate with flashing red lights

amplified by loud sirens” calling for judicial restraint. Pierce v. N.C. State Bd. of Elecs., 713 F.

Supp. 3d 195, 242 (E.D.N.C. 2024), aff’d, 97 F.4th 194 (4th Cir. 2024). And as the U.S.

Supreme Court has demonstrated, the Purcell principle may be applied consistently to guard

against late-breaking changes to election rules—regardless of the challenger’s political

affiliation. Compare, e.g., DNC, 141 S. Ct. at 30 (Kavanaugh, J., concurring), with, e.g., Moore

v. Harper, 142 S. Ct. 1089, 1089 (2022) (Kavanaugh, J., concurring). Following Purcell’s

neutral and evenhanded rule preserves the public’s faith in the election process, and ensures

against courts excessively entangling themselves in hotly disputed political contests. This Court

should deny the petition under the Purcell principle.

       C.      James does not override the Purcell principle here.

       Petitioner ignores the Purcell principle, instead analogizing this case to the North

Carolina Supreme Court’s decision in James v. Bartlett, 359 N.C. 260, 607 S.E.2d 638 (2005).

In James, two candidates challenged whether the Board could lawfully count provisional ballots

cast on election day at a precinct other than the voter’s correct precinct. 359 N.C. at 263, 607

S.E.2d at 640. The defendants argued that the challengers had waited too long to contest the

Board’s counting such out-of-precinct provisional ballots. Id. at 265, 607 S.E.2d at 641.

       The Court rejected this delay argument, observing that “[t]he facts do not support

defendants’ allegations.” Id. The Court explained that the election marked “the first time in

North Carolina history that State election officials counted out-of-precinct provisional ballots.”



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Id. What is more, when one of the challengers had asked the Board before the election whether

the Board intended to count such votes, the Board’s General Counsel “failed to indicate that [it]

would count out-of-precinct provisional ballots.” Id. “This response, coupled with the absence

of any clear statutory or regulatory directive that such action would be taken, failed to provide

plaintiffs with adequate notice that election officials would count” the ballots. Id. The

challengers therefore did not unreasonably delay in bringing their claims.

       After concluding that the petitions were timely, the Court held that the Board had

improperly counted the challenged ballots. Id. at 271, 607 S.E.2d at 645. Relevant statutes and

the Board’s own regulations said “clearly and unambiguously” that “voters must cast ballots . . .

in their precincts of residence.” Id. at 267-68, 607 S.E.2d at 642-43. As such, “the [Board]

violated the election rules by counting those votes.” Order at 1 (Jan. 22, 2025) (Dietz, J.

dissenting).

       Given these facts, this case hardly comes before this Court “in the same posture” as

James, as Petitioner claims. See Br. 13. Unlike the challengers in James, Petitioner was on

notice long before the election of the rules that he now challenges. See, e.g., Republican Nat’l

Comm. v. N.C. State Bd. of Elections (RNC), 120 F.4th 390, 399 (4th Cir. 2024) (alleging that

voter registrations were missing required information). Also unlike in James, where the Board

deviated from its historical practice, the election here was conducted in accordance with

longstanding rules. As Justice Dietz has recognized, in James, the ballot counting in question

“was unlawful under the election rules that existed at the time of the election.” Order at 1

(Jan. 22, 2025) (Dietz, J. dissenting) (citing James, 359 N.C. at 269). In this case, “by contrast,

the State Board of Elections complied with the election rules existing at the time of the election.”

Id. at 2 (Dietz, J. dissenting). And there is no allegation (as there was in James) that Petitioner



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relied on contrary, pre-election statements from the Board in deciding whether to bring a

challenge. See James, 359 N.C. at 265, 607 S.E.2d at 641.8

       Petitioner is therefore wrong that applying Purcell here would be inconsistent with

James. As Justice Dietz has explained, the Court's subsequent Pender County decision is instead

controlling here. Am. Order at 5 (Jan. 7, 2025) (Dietz, J. dissenting).

       Petitioner also wrongly suggests that James compels the remedy he seeks. Br. 12-13. At

the time James was decided, the "general rule" was that courts would "den[y] relief with respect

to past elections." See Hendon, 710 F.2d at 182 (striking down election law as unconstitutional,

but only prospectively); Owens v. Chapin, 228 N.C. 705, 712, 47 S.E.2d 12, 17-18 (1948)


(refusing to discount absentee ballots despite technical irregularities); State ex re. Quinn v.

Lattimore, 120 N.C. 426, 26 S.E. 638, 639 (1897) (votes should not "be rejected" after an

election even if "registrations [were] irregularly made"). Although the Court in James made

clear that it thought the challenged votes were cast unlawfully, it did not actually order those

votes to be discounted. See James, 359 N.C. at 271, 607 S.E.2d at 645. Instead, it simply

"remand[ed] the case . . . for further proceedings." Id."


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        Petitioner argues at length that this case is similar to James because the defendants in that
case claimed that out-of-precinct votes had been counted prior to the election, pointing to the
primaries leading up to that election. Br. 10-13. But the North Carolina Supreme Court squarely
rejected that argument, concluding that this isolated episode did not provide "adequate notice"
where the Board had later advised that these votes would not be counted in the general election.
James, 359 N.C. at 265, 607 S.E.2d at 641. More importantly, unlike here, counting the
contested ballots was unlawful under the rules at the time of the election. Jd. at 267-68, 607
S.E.2d at 642-43.
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         After the Supreme Court's remand, the General Assembly passed legislation clarifying
that it had intended to allow out-of-precinct voting and that "[i]t would be fundamentally unfair
to discount the provisional official ballots cast by properly registered and duly qualified voters
voting and acting in reliance on the statutes adopted by the General Assembly and administered
by the State Board of Elections in accordance with its intent." N.C. Sess. Law 2005-2,
§ 1(11). The General Assembly also enacted procedures for the General Assembly alone to
determine contested legislative and Council of State elections. N.C. Sess. Law 2005-3.

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        Finally, the remedy sought in James is distinguishable for another reason as well: The

challengers in James sought to discount all similarly situated votes on a statewide basis. Id. at

262, 607 S.E.2d at 639 n.2. Here, by contrast, Petitioner has arbitrarily selected only certain,

disfavored voters for disenfranchisement. For example, on his challenge to military and overseas

voters who did not present a copy of a photo ID, Petitioner has inexplicably challenged only

voters from four, large urban counties. As explained infra, granting that irrationally selective

demand would clearly violate the Equal Protection Clause.

        In sum, comparison between this case and James only confirms that the Purcell principle

applies to bar Petitioner’s requested relief here.

II.     Retroactively Changing Election Rules Would Violate the Fourteenth Amendment
        to the U.S. Constitution and the Voting Rights Act.

        The Court should deny the petition for another threshold reason as well. If the Court

declines to follow the Purcell principle and instead opts to retroactively change the rules of the

election after all the votes have been cast, it would violate the Fourteenth Amendment to the

United States Constitution and the Voting Rights Act.

        A.     Retroactively cancelling votes violates due process.

        It is “patent[ly] and fundamental[ly]” unfair to change the rules governing an election

after it has already taken place. Griffin v. Burns, 570 F.2d 1065, 1077 (1st Cir. 1978); see

Hendon, 710 F.2d at 182 (describing this principle as “settled”). For that reason, the Fourteenth

Amendment’s Due Process Clause bars the systematic, “retroactive invalidation” of votes.

Burns, 570 F.2d at 1079-80.

        The seminal case on this point is Griffin v. Burns. There, election officials in Rhode

Island issued absentee ballots in a party primary—a practice which had been in place for seven

years, and which the officials believed was authorized by state law. Id. at 1067. After the


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primary, the losing candidate asserted the use of such ballots was unlawful. Id. The state

supreme court agreed, invalidated those ballots, and changed the outcome of the election. Id.

       The First Circuit held that this abrupt reversal violated due process. Id. at 1078. As the

court explained, because absentee voters had cast their ballots in an “officially-endorsed

manner,” invalidating their ballots en masse resulted in “broad-gauged unfairness” of a

constitutional magnitude. Id. at 1073, 1077. Put another way: the U.S. Constitution forbids a

state from discounting votes cast in accordance with “long-standing practice” and “the

instructions of the officials charged with running the election.” Id. at 1075-76; see also, e.g.,

Bennett v. Yoshina, 140 F.3d 1218, 1226 (9th Cir. 1998); Roe v. Alabama, 43 F.3d 574, 580

(11th Cir. 1995) (retroactively eliminating a requirement of Alabama law that absentee ballots

contain the signatures of two witnesses or a notary after voting had begun violated due process);

Baber v. Dunlap, 349 F. Supp. 3d 68, 76 (D. Me. 2018) (“For this Court to change the rules of

the election, after the votes have been cast, could well offend due process”).

       Our Supreme Court’s precedent similarly recognizes the acute unfairness that would

result from cancelling votes that were cast in compliance with guidance from election officials.

In fact, the Court has specifically held that an error by election officials in the processing of voter

registration cannot be used to discount a voter’s ballot. In Woodall v. Western Wake Highway

Commission, 176 N.C. 377, 97 S.E. 226 (1918), registrars failed to administer an oath to voters,

which was then a legal prerequisite to registration. Id. at 388, 97 S.E. at 231. The North

Carolina Supreme Court rejected the argument that those votes should be canceled, explaining:

       A vote received and deposited by the judges of the election is presumed to be a
       legal vote, although the voter may not actually have complied entirely with the
       requirements of the registration law; and it then devolves upon the party
       contesting to show that it was an illegal vote, and this cannot be shown by proving
       merely that the registration law had not been complied with.



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Id. at 389, 97 S.E. at 232.   To hold otherwise would "be regarded as hostile to the free exercise

of the right of franchise." /d. Our Supreme Court reaffirmed Woodail decades later. It held in

Overton v. Mayor of Hendersonville, 253 N.C. 306, 316, 116 S.E.2d 808, 815 (1960):

         [A] statute prescribing the powers and duties of registration officers should not be
         so construed as to make the right to vote by registered voters depend upon a strict
         observance by the registrars of all the minute directions of the statute in preparing
         the voting list, and thus render the constitutional right of suffrage liable to be
         defeated, without the fault of the elector, by the fraud, caprice, ignorance, or
         negligence of the registrars.

         These principles fully apply here. The rules Petitioner challenges have long been in

place, without issue or protest. Like in numerous past elections, the challenged voters were

informed that they were registered voters, and consistent with that status, they were offered

ballots by election officials in the general election upon request. They have thus voted in line

with longstanding state law, administrative guidance, and judicial decisions. It would therefore

be unlawful to cancel their ballots.

         In sum, voters who followed all the official guidance in place when they registered and

cast their ballots may not be retroactively disenfranchised because of alleged errors by election

officials. Were the law otherwise, it would "permit, if not encourage, parties who could raise a

claim to lay by and gamble upon receiving a favorable decision of the electorate and then, upon

losing, seek to undo the ballot results in a court action." Hendon, 710 F.2d at 182 (cleaned up).

Both the Fourteenth Amendment and our Supreme Court's precedents bar that patently unfair

result, !°


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        In arguing against the applicability of Woodall v. Western Wake Highway Commission,
176 N.C. 377, 97 S.E. 226 (1918), and Overton v. Mayor of Hendersonville, 253 N.C. 306, 116
S.E.2d 808 (1960), Petitioner seems to change his position on exactly who shoulders the blame
for the votes cast by voters with allegedly incomplete registrations. Specifically, Petitioner
attempts to distinguish Woodall and Overton by claiming that the registration issues were the
fault of elections officials, whereas here the fault lies with individual voters. Br. 38-39. This


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           B.     Anderson-Burdick produces the same outcome.

           Although the Board discussed the above due-process protections at length, Agency R pp

5373, 5378-81, Petitioner does not mention them at all in his brief to this Court. See Br. 35-40.

Instead, he asserts that the Anderson-Burdick line of cases provides the right framework for

evaluating any Fourteenth Amendment concerns stemming from his protests. See Br. 35-40.

           Assuming that Anderson-Burdick even applies to post-election challenges like these, it

yields the same result. Under that test, state actions that "impose a severe burden on ballot

access" are "subject to strict scrutiny." Pisano v. Strach, 743 F.3d 927, 933 (4th Cir. 2014). The

protests here clearly fail to satisfy that standard. Were the protests to succeed, they would

impose the severest possible burden on voting       literally cancelling votes   while advancing only

peripheral state interests at best.

           In arguing otherwise, Petitioner mischaracterizes both the relative "burden" and the

State's interests. Br. 36-40. Asking voters to append a driver's license or social security number

to their registration form would perhaps impose a modest burden before an election takes place.

The same is clearly true for photo ID requirements. Crawford v. Marion Cnty. Election Bd., 553

U.S. 181, 189-90 (2008). But the relevant "burden" here is Petitioner's attempt to irrevocably

nullify voters' ballots after the fact, when they were not asked to provide these numbers in order

to vote.    Doing so is plainly unconstitutional under Anderson-Burdick.

           C.     Petitioner's requested relief would also violate the Equal Protection Clause.

           Separately, sustaining Petitioner's protests would violate the Equal Protection Clause.

"Having once granted the right to vote on equal terms, the State may not, by later arbitrary and


position cannot be squared with Petitioner's overall claim that "the State Board failed" to
adequately comply with the registration law. Br. 38. That is precisely the same allegation that
the North Carolina Supreme Court held in Woodall and Overton cannot justify disenfranchising
individual voters.

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disparate treatment, value one person’s vote over that of another.” Bush v. Gore, 531 U.S. 98,

104-05 (2000) (per curiam). But were Petitioner to prevail, “the standards for accepting or

rejecting” ballots would “vary” for wholly arbitrary reasons. Id. at 106.

          Even though the Board has repeatedly explained in its prior briefing that these protests

contravene the Equal Protection Clause, Petitioner inexplicably does not address this issue in his

opening brief. While Petitioner tellingly fails to confront this issue, his arbitrary selection of

voters to challenge, if sustained, would effectuate a clear violation of the Equal Protection

Clause.

          Petitioner claims that “anybody who wants to vote in North Carolina must be a resident

and lawfully registered—no exceptions are allowed.” Br. 36-37. Under the hood, however, his

protests tell a different story. The votes that Petitioner seeks to cancel by this protest were cast

by a certain category of voters—those whose registration records in the Board’s database do not

include a social security or driver’s license number. Critically, Petitioner does not challenge all

voters in this category. Instead, he challenges only the approximately 60,000 of these votes that

were cast before election day—either absentee-by-mail or early in-person. He has not

challenged the tens of thousands of identically situated voters within this category who voted on

election day. See, e.g., RNC, 120 F.4th at 399 (noting allegation that 225,000 registered voters

were missing this data in their records). By seeking only to invalidate a subset of identically

situated voters, Petitioner would force the Board to arbitrarily “value one person’s vote over that

of another.” Bush, 531 U.S. at 104-05. This would plainly violate the Equal Protection Clause.

Id.; see Lecky v. Va. State Bd. of Elections, 285 F. Supp. 3d 908, 920 (E.D. Va. 2018) (“Courts

have generally found equal protection violations where a lack of uniform standards and

procedures results in arbitrary and disparate treatment of different voters.”).



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       D.      Petitioner’s suggested remedy also violates the Voting Rights Act.

       Petitioner’s requested relief would also violate the Voting Rights Act. Under the VRA,

election officials may not “fail or refuse to permit any person to vote who is entitled to vote” or

“otherwise qualified to vote,” or “willfully fail or refuse to tabulate, count, and report such

person’s vote.” 52 U.S.C. § 10307(a). Petitioner’s proposed remedy would violate this

provision. Whether a voter is entitled to vote is a separate determination from whether that voter

properly registered under HAVA. Here, the Board has determined that the voters whose ballots

are being challenged are qualified to vote. Indeed, Petitioner does not dispute that the voters he

challenges are lawful, eligible voters. The VRA thus prohibits the Board from refusing to count

their votes. Moreover, Petitioner seeks to invalidate the votes of countless voters who registered

in compliance with HAVA and its accompanying state laws. As described below, there are

several reasons why a voter’s records might lack an identification number, but the voter is still

properly registered. See infra Part IV.

       Petitioner claims the VRA does not apply here, claiming that the law applies only where

parties have alleged racial discrimination. Br. 34-35 (citing Powell v. Power, 436 F.2d 84, 87

(2d Cir. 1970)). But this argument cannot be squared with the plain text of the VRA provision at

issue here, which instructs that officials may not “fail or refuse to permit any person to vote”

who is entitled or otherwise qualified to do so. 52 U.S.C. § 10307(a) (emphasis added). Nothing

in the provision’s text suggests that it is limited to refusals based solely on racial discrimination.

This absence is particularly notable when considered alongside other sections of the VRA which

explicitly require proof of racial discrimination. See, e.g., id. § 10301(a) (outlawing the

imposition of any “voting qualification or prerequisite to voting” which denies voting rights “on

account of race or color”); League of United Latin Am. Citizens - Richmond Region Council



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4614 v. Pub. Int. Legal Found., No. 1:18-cv-00423, 2018 WL 3848404, at *3-4 (E.D. Va. Aug.

13, 2018)) (rejecting argument that § 10307(b) requires evidence of “racial animus” given the

absence of such language in the statutory text); Nat’l Coal. on Black Civic Participation v. Wohl,

512 F. Supp. 3d 500, 509 (S.D.N.Y. 2021) (same).

         Petitioner’s sole authority for his atextual interpretation of the VRA, moreover, is inapt.

The Second Circuit in Powell rejected an attempt to use the VRA as a sword to exclude ballots.

436 F.2d at 85-86. There, plaintiffs were members of a political party who argued that it violated

the VRA to have allowed persons who were not members of that party to vote in the party’s

primary elections. Id. at 85-87. The court rejected this argument, noting its concern with

greenlighting this “sweeping and novel” theory of the VRA to prevent ballots from being

counted. Id. at 86-87. Here, by contrast, the VRA properly functions as a shield against

Petitioner’s demand that the Board exclude ballots in violation of § 10307(a).

III.     Petitioner’s Failure to Adequately Notify Voters of His Protests Violates
         Procedural Due Process.

         This Court should also deny Petitioner’s petition for judicial review for another threshold

reason: Petitioner did not provide voters with constitutionally adequate notice of his protests or

properly serve his protests on voters.

         As an initial matter, Petitioner’s protests denied voters procedural due process. Voters

have a “constitutionally protected liberty interest” in their right to vote. Democracy N.C. v. N.C.

State Bd. of Elections, 476 F. Supp. 3d 158, 227 (M.D.N.C. 2020); see Burdick v. Takushi, 504

U.S. 428, 433 (1992) (“[V]oting is of the most fundamental significance under our constitutional

structure.”) (cleaned up). As a result, when a voter’s “ballot [is] challenged,” due process

requires that voters be “given notice,” so they can take steps to protect their vote. Democracy

N.C., 476 F. Supp. 3d at 228. Constitutionally adequate notice must be “reasonably calculated,


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under all the circumstances, to apprise interested parties of the pendency of [a matter] and afford

them an opportunity to present their objections." Mullane v. Cent. Hanover Bank & Tr. Co., 339

U.S. 306, 314 (1950); see also In re Chastain, 909 S.E.2d 475, 481 (N.C. 2024) (same). That is

why the Board's rules direct protesters to serve voters with copies of protests that concern "the

eligibility or ineligibility of particular voters." 08 N.C. Admin. Code 02 .0111.!!

       Here, the notice that Petitioner provided voters was not "reasonably calculated" to inform

them that he sought to invalidate their votes. Mullane, Co., 339 U.S. at 314. Petitioner did not

send physical copies of his protests to voters' addresses. Instead, Petitioner's political party

mailed voters a postcard, which stated that their "vote may be affected by one or more protests

filed in relation to the 2024 General Election." (Agency R p 4889 (emphasis added)) The

postcard did not inform voters that their vote was actually under protest. It also did not inform

voters that it was meant to effect formal service of an election protest.

       Rather, the postcard merely directed voters to "scan this QR code to view the protest

filings." (Agency R p 4889) This QR code, when scanned with a smartphone, took users to a

website where hundreds of protests were listed. (Agency R p 5408-09 (showing smartphone

screenshots)) Voters then, to find out if any protests concerned them, had to scour hundreds of

protests to try to locate their names on attached spreadsheets. (Agency R p 5409) These

spreadsheets listed voters' names in small print, out of alphabetical order. (Agency R p 5409)

Some spreadsheets contained hundreds of pages, listing thousands of names. (Agency R p 5409)




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       The Board specifically directs protestors: "You must serve copies of all filings on every
person with a direct stake in the outcome of this protest ('Affected Parties')... . If a protest
concerns the eligibility or ineligibility of particular voters, all such voters are Affected Parties
and must be served." 08 N.C. Admin. Code 02 .0111.

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        In these circumstances, neither the postcard nor its QR code were reasonably calculated

to apprise voters that their votes were being contested. The postcard did not even inform voters

that their votes had actually been challenged. (Agency R p 4889) Vague, equivocal notice of

this kind, which does not "specifically" disclose that a person's rights will be impaired, does not

give "adequate notice." In re Linkous, 990 F.2d 160, 162 (4th Cir. 1993); see e.g., Fogel v. Zell,

221 F.3d 955, 962 (7th Cir. 2000) (if a "notice is unclear," it is not adequate); Griffin v. Griffin,

348 N.C. 278, 280, 500 S.E.2d 437, 439 (1998) (a party's notice to an attorney only saying it was

seeking sanctions against him was inadequate because "[t]he bases for the sanctions must be

alleged"').

        This lack of specificity, moreover, was not cured by the QR code. Many voters do not

own smartphones. See Pew, Mobile Fact Sheet (Nov. 13, 2024), https://tinyurl.com/yeywjxfn

(noting that one in five senior citizens do not have a smartphone) (last visited Feb. 3, 2025); see

also No. 5: 24-cv-00724, D.E. 24-2, 24-3, 24-4 (E.D.N.C.) (affidavits from voters attesting that

they do not know how to use QR codes). These voters would therefore not have been able to

scan the code to learn if a protest affected them. As a result, in "a significant number of

instances," notice by QR code would not "provide [voters with] actual notice" of protests.

Greene v. Lindsey, 456 U.S. 444, 453 (1982). As the U.S. Supreme Court has held, where a

chosen form of notice will not notify a "significant number" of persons, as here, it does not

satisfy "due process." Jd.!




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        Petitioner notes that the Board has sent voters mailers with QR codes. Br. 51. The
mailers that Petitioner references, however, were not meant to provide notice of formal
proceedings. Unlike the postcards that Petitioner sent voters, moreover, the Board's mailers did
not rely on QR codes to convey their primary message. See N.C. State Bd. Voter ID Mailer,
available at https://tinyurl.com/ykavb4up (last visited Feb. 3, 2025).

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        Despite this precedent, Petitioner argues that the U.S. Supreme Court has held that notice

is sufficient so long as most affected persons receive notice. Br. 30. Petitioner is mistaken. The

Court has actually held that where service of papers via “the mails” is possible, then that form of

notice is required. Mullane, 339 U.S. at 319; see also Greene, 456 U.S. at 455. By relying on

QR codes instead, Petitioner failed to provide adequate notice.

        But even if a QR code could theoretically provide adequate notice, it did not do so here.

The Fourth Circuit, for instance, has held that an eviction warning provided inadequate notice

when “it [was] time-consuming to wade through” the entire form at issue to locate the warning,

which was listed “in small print two-thirds of the way down the back of a form.” Todman v.

Mayor of Baltimore, 104 F.4th 479, 488-89 (4th Cir. 2024). Here, for voters to find out if

protests affected them, they had to “wade through” hundreds of protests, some of which listed

thousands of names “in small print.” Id. This kind of needle-in-a-haystack notice offends due

process as it is not “reasonably calculated” to convey notice. Id. at 488.

        Separately, Petitioner’s protests also fail because he did not properly serve voters with

physical copies of his protests. The Board’s rules, as noted above, specify that when protesters

dispute “the eligibility . . . of particular voters,” then “all such voters . . . must be served” with

copies of the protests. 08 N.C. Admin. Code 02 .0111.

        The rules, moreover, also contemplate service of physical copies, consistent with how

service is provided in other contexts under state law. See N.C. R. Civ. P. 5(b)(2) (providing that

“papers” must be served on parties by “hand[ ]” or “mail[ ],” absent consent otherwise). The

Board’s rules do so, for instance, because they mandate that “parcel[s]” with protests be served.

08 N.C. Admin. Code 02 .0111. Because Judge Griffin served postcards on voters, not parcels

with physical copies of protests, his protests also fail for this reason as well.



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        Despite his noncompliance with these rules, Petitioner suggests that his failure to

properly serve his protests and provide voters with constitutionally adequate notice should be

ignored because he had no obligation to serve his protests on voters at all. Br. 28-29. He claims

that the county boards have exclusive statutory responsibility for “giv[ing] notice” of “protest

hearing[s].” N.C. Gen. Stat. § 163-182.10(b).

        Notwithstanding that statutory duty of county boards, however, the Board also has

distinct statutory authority to “promulgate rules providing for adequate notice” of election

protests. Id. § 163-182.10(e). The Board’s rulemaking authority is thus not limited to

prescribing rules for the county boards to follow when they provide notice of a hearing, as

Petitioner argues. Id. § 163-182.10(b)(2). Instead, the Board has ample authority to require that

separate notice also be provided when persons file protests that initiate legal proceedings, as

Petitioner did here. That authority is especially important where, as here, protests directly

implicate constitutional rights.

        The Board’s duly promulgated rules, moreover, leave no doubt that Petitioner was

required to notify voters in this situation, see 08 N.C. Admin. Code 02 .0111—which Petitioner

expressly agreed to do. (See, e.g., Agency R p 8) Given this commitment, Petitioner cannot now

claim he had no obligation to notify the voters he seeks to disenfranchise. Cf. State v. Gillespie,

362 N.C. 150, 152, 655 S.E.2d 355, 356 (2008) (noting that parties can “waive[]” arguments

through “consent[]”).

IV.     Petitioner’s HAVA Protest Fails on the Merits.

        Even if this Court were to address Petitioner’s arguments on their merits, it should deny

the petition because the Board correctly dismissed Petitioner’s protest for failing to set out a

valid claim for relief.



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        A.      North Carolina law implements HAVA for state elections.

        HAVA seeks to establish “uniform and nondiscriminatory election technology and

administration requirements” across the States to govern federal elections. Pub. L. No. 107-252,

§§ 301-12, 116 Stat. 1666, 1704-15 (2002). Among other things, HAVA directs States to

establish “a single, uniform, official, centralized, interactive computerized statewide voter

registration list” to “serve as the official voter registration list” for all federal elections. 52

U.S.C. §§ 21083(a)(1)(A), (a)(1)(A)(viii).

        HAVA also imposes voter-list-maintenance and registration requirements on States. As

for voter-list maintenance, HAVA directs States to maintain voter lists “on a regular basis.” Id.

§ 21083(a)(2)(A). But HAVA limits how they may do so. For example, States may only remove

individuals from the voter list consistent with the requirements in the National Voter Registration

Act (NVRA), Pub. L. No. 103-31, 107 Stat. 77 (1993). Id. §§ 21083(a)(2)(A)(i)-(iii).

        As for voter-registration applications, HAVA generally prohibits States from “accept[ing]

or process[ing]” any application unless it includes the applicant’s driver’s license number or the

last four digits of the applicant’s social security number. Id. § 21083(a)(5)(A)(i). HAVA

instructs state election officials to establish a system to attempt to “match” the identification

number provided in an application with existing government records, id. § 21083(a)(5)(B)(i), and

to establish state-law procedures to address registrations that do not match with such records, see

id. § 21083(a)(5)(A)(iii). However, HAVA does not make a match a prerequisite to accepting an

application. See id. §§ 21083(a)(5)(A), (b).

        HAVA allows certain voters who do not provide a driver’s license number or the last four

digits of their social security number in a registration application to register to vote. For

applicants who have not been “issued” either number, HAVA instructs States to instead assign “a

number which will serve to identify the applicant for voter registration purposes.” Id.
                                                   34

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§ 21083(a)(5)(A)(ii). And if a State did not have a system complying with the requirement to

collect a driver’s license number or last four digits of a social security number, HAVA provides

that a new voter registration applicant by mail may vote by providing an alternative form of

identification before or upon voting for the first time. See id. §§ 21083(b)(1)-(3). This

identification—a so-called HAVA ID—may include “a current and valid photo identification” or

“a copy of a current utility bill, bank statement, government check, paycheck, or other

government document that shows the name and address of the voter.” Id. §§ 21083(b)(2)(A)(i)-

(ii).

          Although HAVA itself only applies to federal elections, in 2003, the General Assembly

enacted a statute that applied HAVA’s federal rules to state elections. The law’s express purpose

was to “ensure that the State of North Carolina has a system for all North Carolina elections that

complies with the requirements for federal elections set forth in the federal Help America Vote

Act of 2002.” Act of June 19, 2003, S.L. No. 2003-226, sec. 1, 2003 N.C. Sess. Laws 341, 341.

The law specifically instructed the Board to ensure “[c]ompliance [w]ith [f]ederal [l]aw” by

“updat[ing] the statewide computerized voter registration list and database to meet the

requirements of section 303(a) of the Help America Vote Act of 2002.” Id. sec. 6 (codified at

N.C. Gen. Stat. § 163-82.11(c)).

          Through this Act, the General Assembly amended several of North Carolina’s voter

registration and list-maintenance statutory provisions to incorporate HAVA’s requirements. For

example, state law now requires all voter registration applications to “request” that voters

provide their driver’s license number or the last four digits of their social security number. N.C.

Gen. Stat. § 163-82.4(a)(11). Like HAVA, however, the statute allows voters who have not been

issued one of those numbers to receive a “unique identifier number” from the Board for



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registration. Id. § 163-82.4(b). Like HAVA, North Carolina law also requires voters who

register by mail and who have not had their driver’s license or social security number validated

beforehand to present a HAVA ID when they vote for the first time. Id. §§ 163-166.12(a)-(b),

(f). And although state law directs county boards to attempt to match an identification number

provided on a registration form with an existing government database, id. §§ 163-82.12(6)-(9),

when the information provided by any voter, regardless of how they registered, does not match,

voters may cast ballots by providing a HAVA ID before voting for the first time, id. § 163-

166.12(d); see also Voting Site Station Guide 19, N.C. State Bd. of Elections, bit.ly/3BQDmWR

(last visited Feb. 3, 2025) (same).

       The result is that, like most States, North Carolina has a single voter registration system

for both federal and state elections that incorporates HAVA’s requirements. RNC, 120 F.4th at

401 (“North Carolina has a unified registration system for both state and federal elections.”);

N.C. Gen. Stat. § 163-82.11(a) (“The system shall serve as the single . . . official list of registered

voters . . . for the conduct of all elections in the State.”). North Carolina “thus is bound by”

provisions of federal law, like HAVA, governing voter registration and list maintenance. RNC,

120 F.4th at 401.

       B.      Canceling the challenged votes would violate HAVA and the NVRA.

       To begin, Petitioner’s HAVA protest is meritless because his proposed remedy of

canceling these votes would run afoul of HAVA and the NVRA. Both HAVA and North

Carolina law require any voter-registration list maintenance to be performed in accordance with

the NVRA. 52 U.S.C. § 21083(a)(2)(A); N.C. Gen. Stat. § 163-82.14. The NVRA only allows

the removal of ineligible voters from the rolls in specific, enumerated circumstances: (1) at the

request of the registrant, (2) for criminal conviction or mental incapacity, as provided by State

law, (3) for death or a change in residence, and (4) if an individual has not participated or
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responded to a notice in two consecutive federal general elections. 52 U.S.C. §§ 20507(a)(3),

(a)(4), (b)(2). Petitioner does not claim that his basis for canceling these votes—and thus

effectively removing these voters from the official list of eligible voters in this past election—

falls among these narrow, enumerated reasons. The NVRA therefore squarely forecloses

Petitioner’s requested relief. See RNC, 120 F.4th at 402-03 (concluding that the NVRA does not

authorize removal from voter rolls based on this same allegation of HAVA non-compliance).

       Moreover, the NVRA forecloses Petitioner’s relief for a separate reason as well. Under

the NVRA, systematic removals, other than by registrant request, felony conviction, or death,

must be completed “not later than 90 days prior to the date of a primary or general election for

Federal office.” 52 U.S.C. § 20507(c)(2)(A). While we are not technically within this quiet

period, requiring the Board to purge voters now would clearly violate the quiet period’s purpose.

See id. Congress enacted the quiet period to “prevent the discriminatory nature of periodic voter

purges.” S. Rep. 103-6, at 20 (1993). It would be strange indeed for Congress to have instituted

a prophylactic prohibition against voter purges for the 90-day period before an election only for

the State to implement mass voter purges after an election has occurred and retroactively remove

those voters’ ballots from the election’s tally.

       C.      Petitioner has not established probable cause of any HAVA violation.

       In any event, Petitioner has not shown probable cause of a HAVA violation here. At

bottom, probable cause requires “‘a reasonable ground for belief’” that the law has been violated,

a belief that must be “particularized with respect to” the individual who allegedly committed the

legal violation. Maryland v. Pringle, 540 U.S. 366, 371 (2003) (quoting Ybarra v. Illinois, 444

U.S. 85, 91 (1979)). The question is whether an objectively reasonable decisionmaker can reach

a “reasonable conclusion to be drawn from the facts known . . . at the time” that a legal violation

“has been or is being committed.” Devenpeck v. Alford, 543 U.S. 146, 152 (2004).
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        Under this standard, Petitioner has failed to show probable cause of any HAVA violation.

Petitioner's protest is based on a list of over 60,000 registered voters   provided to him by the

Board    who lack a recorded driver's license or social security number in the Board's database

and who voted early or absentee in the 2024 elections. Petitioner carelessly assumes that all of

these voters are improperly registered. Br. 13. But this assumption is indisputably false.'?

        For numerous reasons, a voter may lack a driver's license or social security number in

their records and still be registered in accordance with state and federal law. For example: (1) a

voter may not have a driver's license or social security number; (2) a database-matching failure

resulted in identification numbers not being retained in the record; (3) voters who did not provide

a driver's license or social security number, when applying to register by mail, could still register


by providing c HAVA ID before or when voting for the first time; (4) voters who registered
              a




before the effective date of HAVA have a new post-HAVA registration that is not linked to their

pre-HAVA registration; and (5) voters provided an identification number in a previous

application under a registration record different than the one that is contested. Cox Aff. 41 9, 14.

        First, voters who have not been issued a driver's license or social security number will

necessarily lack this information in the Board's database. But these voters are nonetheless

allowed to register to vote using a number assigned to them by the Board. 52 U.S.C.

§ 21083(a)(5)(A)(Gi); N.C. Gen. Stat. § 163-82.4(b) (state law implementing this HAVA

requirement). Cox Aff. ¥ 14@).




13
       Petitioner wrongly claims that the Board did not list a driver's license or social-security
number as required on the voter-registration form since HAVA and its implementing state law
were "enact[ed] in 2003" until "December 2023." Br. 16. In fact, as public records have long
shown, the voter-registration form expressly listed this information as required until 2009 and
was only changed to imply that the information was not required in 2013, during the McCrory
administration. See Cox Aff. q 16; Ex. A to Cox Aff.

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         Second, many voters who did, in fact, provide an identification number when they

registered may nevertheless not have that number recorded in the Board’s database because of a

database-matching failure. Cox Aff. ¶ 9; (Agency R p 5383 (“Unvalidated identification

numbers are not retained in a voter’s registration record.”)) As discussed, HAVA instructs state

election officials to establish a system to attempt to “match” the identification number provided

in an application with existing government records. 52 U.S.C. § 21083(a)(5)(B)(i); N.C. Gen.

Stat. §§ 163-82.12(6)-(9) (state law implementing this HAVA requirement). But county workers

may make “routine data-entry errors” that do not enable a match and cause the database to lack a

recorded identification number. (Agency R p 5391-92 n.16) Voters may also make a data-entry

error in their registration form causing the database to lack this information. See (Agency R p

5383) The matching error may also result from voters having different names at different points

in their lives—for example, differences between married and maiden names or hyphenated last

names.

         Importantly, HAVA explicitly contemplates that these kinds of matching errors might

occur and that voters are not improperly registered as a result. See 52 U.S.C. §§ 21083(a)(5)(A),

(b). Instead, HAVA directs States to establish procedures to address registrations that do not

match existing government records. Id. § 21083(a)(5)(A)(iii); N.C. Gen. Stat. § 163-166.12(d)

(implementing this HAVA requirement); cf. Wash. Ass’n of Churches v. Reed, 492 F. Supp. 2d

1264, 1296 (W.D. Wash. 2006) (“HAVA’s matching requirement was intended as an

administrative safeguard for ‘storing and managing the official list of registered voters,’ and not

as a restriction on voter eligibility.” (quoting 52 U.S.C. § 21083(a)(1)(A)(i)). North Carolina has

done so by allowing voters to provide a HAVA ID before or upon voting for the first time. In

doing so, the General Assembly made clear that “[i]f that identification is provided and the board



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of elections does not determine that the individual is otherwise ineligible to vote a ballot, the

failure of identification numbers to match shall not prevent that individual from registering to

vote and having that individual’s vote counted.” N.C. Gen. Stat. § 163-166.12(d). Thus, the law

is clear that voters whose information was subject to a matching error may register and vote even

though their voter records lack an identification number in the Board’s database.

       Third, even assuming that North Carolina’s registration system did not previously comply

with HAVA, voters who applied to register by mail without providing a driver’s license or social

security number would nonetheless have been eligible to register upon providing a HAVA ID

before or when voting for the first time. See 52 U.S.C. §§ 21083(b)(1)-(3); N.C. Gen. Stat.

§§ 163-166.12(a)-(b), (f) (implementing this HAVA requirement); Cox Aff. ¶ 9. Thus, both

HAVA and state law make clear that these voters may register and vote even if the Board’s

database lacks an identification number.

       Petitioner is simply wrong that HAVA and state law always require voters who register

by mail to provide a driver’s license or social security number to register. Br. 14. In a variety of

circumstances—if such voters do not have this information when they register, if officials are

unable to match their information with an existing government database, or if voters register

under a system that is not set up to halt a registration that lacks an identification number—both

HAVA and state law allow those voters to register and vote by providing HAVA ID on or before

voting in their first election. 52 U.S.C. §§ 21083(b)(1)-(2); N.C. Gen. Stat. §§ 163-166.12(a)-

(b). Voters who register by mail and who provide a driver’s license or social security number

that matches with an existing government database are merely exempt from the requirement that

they provide HAVA ID. 52 U.S.C. § 21083(b)(3)(B); N.C. Gen. Stat. § 163-166.12(f)(2).




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       Fourth, although Petitioner purports to challenge only those voters who were registered

after HAVA’s effective date, some of these voters actually “registered prior to the effective date

of HAVA but a new registration was created for them that is not linked to that older

registration.” (Agency R p 5391-92 n.16 (emphasis added)); see also Cox Aff. ¶ 14(a). Yet

nothing in HAVA or the state law that implements HAVA required voters who registered to vote

before HAVA’s effective date to re-register in compliance with HAVA’s requirements. Indeed,

“HAVA did not direct states to purge all existing voters from state rolls and force them to re-

register in accordance with the new federal requirements.” La Unión del Pueblo Entero v.

Abbott, 705 F. Supp. 3d 725, 752 (W.D. Tex. 2023). After all, “[s]uch a requirement would

almost certainly violate the constitution.” Id. at 752 n.21.

       Fifth, voters may lack this information in the Board’s database because they “supplied

such a number in a previous application under a different registration record than the one

challenged.” (Agency R p 5392 n.16); see also Cox Aff. ¶ 14(b) and (c). But again, nothing in

HAVA or the state law that implements HAVA provides any basis to conclude that such voters

would be improperly registered.

       In all of these ways, a voter may have registered to vote in full compliance with HAVA,

but their records nevertheless lack an identification number in the Board’s database. Petitioner

has failed to even attempt to establish probable cause that any of the 60,000 voters he targets fall

outside these circumstances. Lacking any particularized, objectively reasonable facts with

respect to any individual voter, Petitioner cannot meet the probable-cause standard. Ybarra, 444

U.S. at 91 (probable cause must be “particularized with respect to that person”). As a leading

treatise explains, “it is commonly said” that “events as consistent with innocent as with




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[unlawful] activity,” without more, are “too equivocal to form the basis” of probable cause. 2 W.

LaFave et al., Criminal Procedure § 3.3(b) (4th ed.) (cleaned up). That is the case here.

       D.      Petitioner’s contrary arguments are unpersuasive.

       At the outset, Petitioner contends that HAVA does not apply here, because the statute

governs only federal elections. Br. 22-24. But as discussed, the General Assembly has expressly

applied HAVA’s federal-election requirements to state elections as well. See supra Part IV.A.

Petitioner cites the North Carolina Supreme Court’s decision in James for the proposition that

HAVA itself does not apply to state elections. Br. 23. That is true. But as James goes on to

confirm, the General Assembly then passed a law “in response to Congress’ passage of the Help

America Vote Act” that implemented HAVA’s requirements for state elections. 359 N.C. at 267,

607 S.E.2d at 643. Thus, whether this Court examines HAVA itself or its implementing state

laws, the analysis is the same.

       When Petitioner addresses HAVA, his arguments are unpersuasive. Petitioner is correct

that HAVA generally prohibits a State from processing a voter-registration application unless it

includes a driver’s license or social security number. 52 U.S.C. §§ 21083(a)(5)(A)(i)(I)-(II); see

Br. 15-16. But Petitioner proceeds as if this were HAVA’s only provision.

       To the contrary, as discussed, HAVA elsewhere allows some voters to register and cast

ballots absent this information. Moreover, HAVA explicitly contemplates that voters may still

register when they provide one of these numbers but that number does not validate against other

government databases. 52 U.S.C. § 21083(a)(5)(A)(iii). And importantly here, when a number

does not validate, the voter’s current database record will lack a number. (Agency R p 5383)

Thus, there are many voters within this group who did provide a driver’s license or social

security number when registering, but because the number did not validate, the statewide

database lacks an entry in that data field. (Agency R p 5383)
                                                42

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       All told, HAVA expressly contemplates that many lawfully registered voters will not

have a validated identification number in their voter records, and creates a process for verifying

their identity to allow them to vote. Thus, no voter that Petitioner targets could have cast a ballot

without at least first presenting election officials with a HAVA ID—just as federal law requires.

       Petitioner’s reliance on the so-called “cure” provision in section 163-82.4(f) reflects a

simple misunderstanding of the statute. Petitioner claims that the procedures set out in this

provision are the only way to “cure” voter registrations that lack a driver’s license or social

security number. Br. 15. But section 163-82.4(f) applies before a voter has been registered by a

county board. N.C. Gen. Stat. § 163-82.4(f). And it requires the county board, not the voter, to

take steps in the event of an incomplete voter registration by contacting the voter and giving the

voter an opportunity to correct the application. Id. Here, by contrast, Petitioner is challenging

the votes of voters who are already on the voter rolls. And as explained above, there are

numerous ways that a voter may be registered in full compliance with federal and state law, but

lack an identification record in the Board’s database.

       Petitioner’s focus on the cure provision demonstrates a more fundamental defect in his

arguments: Petitioner confuses voter registration with voter eligibility. Petitioner has never

suggested that the more than 60,000 voters he challenges in this protest category are actually

ineligible to vote in North Carolina elections. See N.C. Gen. Stat. § 163-55 (outlining statutory

qualifications to vote); N.C. Const. art. VI, § 2 (same, constitutional). Moreover, all persons

who register to vote, including those challenged here, are required to affirm that they meet all the

qualifications to vote, under penalty of a Class I felony. See N.C. Gen. Stat. §§ 163-82.4(c)(1),

(e); see also North Carolina Voter Registration Form, Section 11, bit.ly/4iUMGtv (last visited

Feb. 3, 2025). Petitioner therefore openly seeks to use technicalities to disenfranchise tens of



                                                 43

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thousands of lawful North Carolina voters      many of whom have been voting without

controversy in North Carolina elections for decades. Nothing in HAVA or the state law that

implements HAVA permits this audacious request. Indeed, the North Carolina Supreme Court

has twice rejected arguments ofjust this kind. See supra Part II.A. And as discussed above, the

federal constitution affirmatively forbids it. Id.

V.        Petitioner's Proposed Remedy Is Improper and Unlawful

          For all the above reasons, this Court should deny the petition. But even if this Court were

to consider the petition and agree with Petitioner that the Board erred in adjudicating his protests,

Petitioner's proposed remedy      that the Court order the Board to simply cancel the challenged

ballots    is clearly improper. Under these circumstances, the only appropriate remedy would be

for this Court to remand to the State Board for further proceedings, including factfinding

hearings on Petitioner's protests.
                                     '

          A.     If this Court grants relief to Petitioner, the only proper remedy would be a
                 remand to the Board.

          As described above, the statutory framework for adjudicating elections protests involves

multiple steps, including an evidentiary hearing to test a protester's allegations against the

evidence. See supra at 7-8. Here, the Board dismissed the protests at a preliminary, threshold

stage of the process. Specifically, the Board held that the protests failed at the outset because he

failed to comply with filing requirements and failed to "establish[] probable cause to believe that

a violation of election law or irregularity or misconduct has occurred." N.C. Gen. Stat. § 163-


182.10(a); see (Agency R pp 5381, 5396)




M4
        Given the individualized nature of Petitioner's protests, on remand, the State Board may
direct initial hearings to be conducted at the county level where individual voter records are most
conveniently available.
                                                     44

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       Because the Board dismissed the protests at this initial stage, it never moved on to

conducting a hearing, where it could receive evidence and engage in factfinding to test

Petitioner’s factual allegations. See N.C. Gen. Stat. §§ 163-182.10(a), (c). As a result, the

question before this Court is limited to whether the Board’s decision on its initial consideration

of Petitioner’s protests was legally correct. If this Court disagrees with the Board’s legal

decisions, the only appropriate remedy would be to remand to for evidentiary hearings. It is at a

hearing that the State Board or county boards would apply the substantial-evidence standard to

resolve Petitioner’s protests. Id. § 163-182.10(d). Following hearings, the Board would be then

required to “make a written decision on each protest” stating its findings of facts and

accompanying conclusions of law. Id.

       As a result, the question before this Court is limited to whether the Board applied the law

correctly. Petitioner is simply wrong that this Court may consider his factual allegations under

the substantial-evidence standard. Rather, the only appropriate remedy should the Board’s

threshold legal decisions be reversed, is to remand for evidentiary hearings, applying the

substantial-evidence standard at that time. See id. §§ 163-182.10(a)(1), (c); cf. Cmty. Sav. &

Loan Ass’n v. N.C. & Loan Comm’n, 43 N.C. App. 493, 497-98, 259 S.E.2d 373, 376-77 (1979)

(reversing trial court decision that resolved legal conclusions in a petition for judicial review of

an agency decision, and ordering that the case should instead be “remanded . . . for further

[factual] findings”).

       B.      Petitioner is wrong that the appropriate remedy to any error is discounting
               the challenged ballots wholesale.

       Petitioner asks this Court to simply “order the State Board to retabulate the vote with the

unlawful ballots excluded.” Br. 40. This remedy would clearly be improper at this stage of the

process. And indeed, it is contrary to the remedy that Petitioner himself requested in his protests.

                                                 45

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       As detailed above, the State Board dismissed Petitioner's protests at the preliminary

consideration stage. See N.C. Gen. Stat. § 163-182.10(a).    If the Court were to find error in the

Board's order dismissing at that preliminary stage, the only appropriate remedy would be a

remand to the Board for further proceedings, including an evidentiary hearing, at which the State

Board or county boards could conduct any necessary factfinding on an individualized basis

rather than disenfranchising more than 60,000 voters en masse as Petitioner demands. See id. §§

163-182.10(a), (c)-(d).

       Petitioner has failed to establish that any voter actually registered to vote and cast ballots

in violation of the law.'> Petitioner's request that the Board simply discard all the challenged

votes would therefore clearly be improper under the statutes and case law governing election

protests. On remand, the Board would be authorized by statute to take a wide variety of

measures, as appropriate, in response to an adjudicated election violation. Specifically, the

General Assembly has authorized the Board, subject to judicial review, to correct vote totals,

order a recount, or take any other action "necessary to assure that an election is determined

without taint of fraud or corruption and without irregularities that may have changed the result of

an election." Jd. §§ 163-182.10(d), -182.12. In addition, under certain limited circumstances,

the Board may also order a new election. Jd. § 163-182.13(a).




1s
         The burden of proof is on the protestor, not the State Board. Jn re Appeal of Ramseur,
120 N.C. App. 521, 525, 463 S.E.2d 254, 257 (1995); In re Cleveland Cty. Comm'rs: Protest of
Crawford, 56 N.C. App. 187, 191, 287 S.E.2d 451, 455 (1982); and Jn re Jud. Rev. by
Republican Candidates for Election in Clay Cnty., 45 N.C. App. 556, 570, 264 S.E.2d 338, 346
(1980)). Nonetheless, as discussed, in response to some of Petitioner's arguments in this
litigation, the Board chose to voluntarily perform a preliminary data analysis to evaluate
Petitioner's assertions. Cox Aff. bl 8-13. That analysis shows that, as predicted in earlier
filings, roughly half, and likely many more, voters challenged by Petitioner did in fact provide a
driver's license or social security number when they registered. Cox Aff. ¥ 13.


                                                 46

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       Moreover, here, Petitioner does not contest that the vast majority (if not all) of the voters

he challenges in this protest are lawful, eligible voters.   As a result, on remand, any remedy

provided by the state and county boards would have to provide challenged voters an opportunity

to address any deficiencies that this Court identifies before their voters are discarded. Indeed,

this is exactly the remedy that Petitioner himself requested in his protests. Petitioner did not ask

the Board to cancel votes outright in his protests. Instead, in all of his protests on this issue, he

asked that:

       The State Board of Elections should (1) notify all voters who registered by a voter
       registration form since January 1, 2004, and failed to provide a drivers license or social
       security number that their voter registration was deficient and, absent correction, their
       vote cannot be counted; (2) inform such voters that they have a cure period during which
       the voter can provide the missing information; (3), for all such voters who provide a
       validated drivers license or social security number during the cure period, count the
       ballots in the election contest identified above; (4), for all such voters who fail to provide
       a validated drivers license or social security number during the cure period, not count the
       ballot in the election contest identified above; and (5), after the cure period, correct the
       vote count accordingly in the election contest identified above.'®

This request appropriately recognizes that the outright cancelling of votes cast by lawful, eligible

North Carolina voters    without any opportunity to cure       would be inappropriate if this protest

ever proceeds to the evidentiary hearing and remedial phases.

        In sum, should this Court reverse the Board's initial legal determinations and order a


factfinding hearing, and should the Board ultimately find that Petitioner has adduced substantial




        (Agency R pp 22, 50, 82, 97, 134, 165, 181, 199, 215, 250, 305, 376, 412, 458, 476, 506,
16


527, 558, 586, 615, 632, 647, 678, 716, 735, 774, 858, 890, 907, 947, 980, 1016, 1129, 1166,
1249, 1288, 1318, 1334, 1349, 1369, 1389, 1419, 1569, 1606, 1636, 1669, 1689, 1705, 1726,
1756, 1798, 1833, 1870, 1901, 1935, 1973, 1994, 2026, 2042, 2058, 2092, 2223, 2239, 2271,
2306, 2355, 2412, 2444, 2492, 2533, 2565, 2587, 2618, 2651, 2684, 2717, 2749, 2774, 2806,
2837, 2861, 2899, 2919, 2954, 2971, 2991, 3007, 3042, 3059, 3075, 3105, 3159, 3211, 3385,
3416, 3444, 3474, 3508, 3534, 3549)
                                                  47

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evidence of an election law violation, discounting ballots is only one of several remedies

authorized by law.

                                        CONCLUSION

       For the reasons stated above, this Court should deny the petition for judicial review.

       Electronically submitted this the 3rd day of February, 2025.

                                                     /s/ Terence Steed
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                                                     Counsel for Respondent State Board




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                                CERTIFICATE OF SERVICE
       This is to certify that the undersigned has this day electronically filed the foregoing

document with the Wake County Clerk of Court using the NC eCourts efile and serve system,

which electronically mails a link to the same in PDF format using the following addresses:



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       Counsel for Petitioner




       This the 3rd day of February, 2025.

                                                      /s/ Terence Steed
                                                      Terence Steed
                                                      Special Deputy Attorney General




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                                                          IN THE GENERAL COURT OF JUSTICE
STATE OF NORTH CAROLINA
                                                                  SUPERIOR COURT DIVISION
                                                                          24CV040620-910
COUNTY OF WAKE

                                                     )
JEFFERSON GRIFFIN,                                   )
                                                     )
                         Petitioner,
                                                     )                   AFFIDAVIT OF
                                                     )                     PAUL COX

NORTH CAROLINA STATE BOARD OF                        )
ELECTIONS,                                           )

                         Respondent.                  )
                                                      )

                                                          that the following information is true to the
       I, Paul Cox, swear under penalty of perjury

best of my knowledge and state as follows:

               I am over 18 years old, I am competent to give this
                                                                          declaration and have personal
       1.

                              forth herein.
knowledge of the facts set

               I am general counsel for the North Carol
                                                              ina State Board of Elections ("State
       2.

                                                          2022. Prior to that,.I served as an associate
Board"), a position I have held since September 1,
                                                                                  In my role, I provide
                         State Board from September 2021 to August 2022,
general counsel to the

                                   and its staff on all matters of election administrati
                                                                                           on. I also
legal advice to the State Board

                                       s of elections. I also regularly confer with subject-matter
provide advice to the county board
                                                                                                        of the
                                       ith county directors of elections regarding the operation
experts on State Board staff and-w

                                                                  which is the suite of software and
State Election Information Management System (SEIMS),

                                                             both State and county election officials to
databases maintained by the State Board and used by

                                                                                voter          list
                         ns-related processes, including voter registration and
manage nearly all electio

maintenance. I also regularly confer with these
                                                    election professionals regarding operational

                                   and voter list maintenance.
practices for voter registration


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                                                                                     ents in the care and
        3.      As general counsel to the State Board, I have access to docum

                                                 that true and accurate copies of those documents are
custody of that state agency and can verify
                                                                            made by persons with
attached hereto. These are documents created by State Board staff,

                                             in the course of the regularly conducted business of
                                                                                                       the
knowledge of the contents therein, kept
                                                                   Carolina law.
State Board, and are considered public records under North
                                                                                          ation stored in
        4,      As general counsel to the State Board, I also have access to inform
                                                                    as information kept in archived voter
North Carolina's current voter registration database, as well

                                      I am familiar with the functioning of the current database,
registration processing databases.

                                    s inform    ation entered into the database. The State Board is
including how it stores and verifie
                                             cement, maintenance, and management
                                                                                 of       the current
responsible for the development, enhan

voter registration database, and retains custody of
                                                         archived databases. Through my personal

                                                                                               d
                           inform     ation maintained in these databases was originally entere by
knowledge, I am aware that
                                                                                              who
                          staff   members (or, in rare occasions, State Board staff members),
county board of elections
                                       at the time it was entered.
had knowledge of that information

                I requested that the State Board's inform
                                                               ation technology (IT) staff retrieve data
        5.

                                                     databases that provides the basis for the
from the current and archived voter registration

                                                          that the information in this affidavit derived
information discussed in this affidavit. I can.verify

                                                         to the extent it was originally inputted
from data in those databases is true and accurate,

correctly, and is of public record.
                                                                                             of a political
        6.      The Petitioner in this matter included an affidavit from an employee

                                                  stated that he conducted a data query of a
                                                                                                list
consulting firm, Ryan Bonifay, Mr. Bonifay
                                                         from the State Board containing all currently
provided to the North Carolina Republican Party

                                          or temporary status that do not contain data
                                                                                         in one or more
 registered voters in active, inactive,



                                                     2



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                                                                           e number or last four digits
of the following data fields in their registration record: driver's licens
                                                                               the absentee voter list
of social security number. He states that he then matched this list against

to produce a final list which, according to him, contains
                                                          "a list    of people who (1) attempted to

                                                                                    absentee by mail,
vote in the 2024 General Election before November 5, 2024 (via early vote,
                                                                                              never
                                        their applicable county board of elections, and (3)
etc.), (2) had their vote accepted by

                               r's licens    e number nor the last 4 digits of their Social Security
provided a North Carolina drive

Number to their county board of elections."
                                                                                          would
        7.      Mr. Bonifay's conclusion that the results of this database matching

                                                         one of these numbers "to their county board of
definitively show whether a registrant "provided"
                                                            es that numbers provided on a voter
elections" is based on incorrect assumptions, It assum
                                                                                      in a voter's
                                 board of elections necessarily and always appear
registration form to a county

                             electronic database used to produce the list that the Republican Party
registration record in the

obtained from the State Board. It is a concl
                                                usion that, in a very large number of cases, proves to


be incorrect.
                                                           s                               ht by
        8.      In response to arguments made in the variou post-election litigation broug

                                                run a database query on January 24, 2025, to replicate
the Petitioner, 1 requested that our IT staff

                                                cted. We matched the list of individuals whose
the analysis that Mr. Bonifay says he condu

                                                   ins neither a driver's license nor the last four
electronic voter registration database record conta

                                              the list of voters who cast an early. or absentee
                                                                                                  ballot in
digits of a social security number, against
                                                                  board of elections. The result was a
the 2024 general election that was accepted by their county

                                                                 absentee voters.
list of 62,027 voter records: 60,666 early voters and 1,361
                                                                                         archive
        9.      Our IT staff did further analysis, however, using voter registration

                                                     s had one of these numbers in their voter
databases to identify whether any of these voter



                                                     3




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                                              created when the county board of elections initially
registration application record-the
                                    record

                                                                                   database. These
enters data from the voter registration application into the voter registration

                                                                                             for Mr.
archive databases are distinct from the current database of voter registrations queried

                                                    that operate       within SEIMS, when a county
Bonifay's analysis. Under the data processing rules

user inputs a new registration application or updated application record
                                                                              with a driver's license or

                                                                             se field, the system
the last four digits of a social security number in the appropriate databa

                                          number against the North Carolina DMV database, for
automatically attempts to validate that
                                                                      on                  for social
driver's license numbers, and the federal Social Security Administrati database,

                                                 first and last name, date of birth, and the driver's
security numbers. To validate, the applicant's
                                                          all match exactly,    between the voter
license or last four of their social security number must

                                other government database. If there is any discrepancy preventing
registration database and the
                                                         the identification number from being
an exact match on any of these fields, that prevents

                                                         number is removed from the registrant's
validated, and the driver's license or social security

                                                   in an archive database associated with the
voter record. That number is retained, however,

                                               Such voters are permitted to register     and vote upon
processing of voter registration applications.

                                            which we refer to as HAVA ID. See N.C.G.S. § 163-
providing another form of identification,

166.12(d).
                                                                                               our data
        10.    After querying this archive database for any of the 62,027 voter records,

shows that 28,803 of these voters' records contained a driver's
                                                                      license number or last four digits

                                                                                        In all likelihood,
of a social security number during the registration application processing phase.

based on the processes outlined above, these identification
                                                                  numbers were removed from these

                                                                  elections database and the DMV or
voters' records when the automatic matching between the

                                                              .
Social Security databases did not result in an exact match



                                                   4


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        11.    Next, our IT staff ran a query to determine whether any
                                                                              of the 62,027 voters have

                                                                   's license or last four digits of a
another voter registration record on file that contains a driver

social security number. This can occur, for example, if a person registers in
                                                                                   one county and then

                                                     in some instances, the county user fails to
re-registers in another county. When this occurs,
                                                                                   the previous record.
match and populate the new record with the identification information from

                                                                                               with the
To identify such records, our IT staff searched for other registration records associated
                                                                                             voters. We
same unique voter identification number (which we call NCID) of any of the 62,027

                                                                      that contained a driver's license
determined that 2,200 of these voters had an earlier registration

or social security number, 1,168 of which are unique from the list
                                                                        of 28,803 voters whose initial

processing record contained one of
                                       these numbers.

                                                                whether any of the 62,027 voters have
        12.     Next, our IT staff ran a query to determine

                                                          on their initial voter registration application
a record in the database showing that they indicated

                                                        or Social Security number." Such voters are
that they "do not have a driver's license/DMV ID

permitted to register and, in lieu
                                     of an identification number that the voter does not have, SEIMS

                                             identification number (again, an NCID number). See 52
automatically assigns that voter unique
                                a

                                                              for this entry until July 2024, when our
U.S.C. § 21083(a)(5)(A)(ii). SEIMS did not have a field
                                                              the county boards use to enter voter
software developers added it to the software application

                                                                       of "I do not have" voters would
registration applications into the system. Accordingly, any query

                                      it would capture only those voters who selected this option
necessarily be underinclusive because
                                                                   and no such voters from before that
 on the voter registration application from July 2024 onward,

                                                                     voters have an indication in their
 time. From this query, we determined that 1,266 of the 62,027

                                                                         have neither a driver's license
 record that they informed their county board of elections that they

                                                                     from the earlier two queries.
 number nor social security number, 1,196 of which are unique



                                                    5




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                                                                          we can determine that among
        13.        Accordingly, when combining the first two queries,
                                                                              a driver's license or last
the voters who, according to Mr. Bonifay's analysis, "never provided"

                                                                                   one of these
four digits of a social security number, 29,971 of them actually did provide

                                                                                   in Mr. Bonifay's
numbers. And drawing on the third query, 1,196 additional voters included

                                                                         to federal law when they
analysis, and likely many more, were properly registered pursuant

indicated that they lacked these numbers, for a total of31,167 of the 62,027.

        14.        If the election protests at issue were determined to be legally valid and should
                                                                                   this type of data
advance to an evidentiary hearing, which did not occur at the agency level,

                                                  s in its possession would be the first step. Next, the
analysis by State Board staff of public record

                                            to investigate all of the remaining voter registrations
county boards of elections would have
                                                          a variety of fact-specific circumstances that
identified by Mr. Bonifay. That is because there are

would establish that a voter either provided one
                                                      of the identification numbers at issue, contrary to

                                                                           one. My colleagues at the
Mr. Bonifay's conclusion, or that they were exempt from providing

                                                          members from county boards of elections
State Board and I have conferred with multiple staff

                                                            ied in Mr. Bonifay's list, and the following
who have been reviewing the records of voters identif

is a list of some of these circumstances:
                                                                                          s in the late
              a.   Some voters registered before the digitization of registration record
                                                           a new registration form, but the system was
                   1990s/early 2000s and then submitted
                   unable to link the older form to the new one, so the current data, erroneously,
                                                                      after HAVA became effective.
                   appears to show that the person first registered
                                                                                    four digits of social
              b.   Some voters registered and provided a driver's license or last
                                                       lacked these numbers and then re-registered, or
                   security number or indicated they
                                                    But because of a discrepancy in how they filled
                   they registered prior to HAVA.
                                                                                              the two
                   out the later registration form (or a data entry error by county staff),




                                                      6


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         records were not linked. So, the later registration appears in the database,

         erroneously, as a first-time registration.
    c    Some voters were removed from the rolls due to inactivity but later voted after
                                                                    which requires a county to
         attesting that they maintained residency in the county,
                                                         .                   Howeve      r, the
         "reinstate[]" that voter's registration. N.C.G.S § 163-82.14(d)(3).
                                                         record rather than reactivating a
         county may have created a new registration
         removed record due to various processing practices at the county level.
                                                                                      If the

         original registration was either exempt from the
                                                             HAVA identification requirement
                                                                                   the new
         or the voter supplied an identification number on the original record,

         record would not show that in the current record in the database.

         Some voters provided a driver's license or last four digits of their
                                                                                social security
    d.
                                                                               worker can
         number with their initial registration application, which a county

         verify by pulling up the scanned copy
                                                  of that form, but a county worker simply
                                                                                                the
         failed to key that information into the database when they originally processed

         registration.
                                                                                      or social
         As noted above, some voters selected "I do not have" a driver's license
                                                 before July 2024, so the county board could
         security number, but they registered
                                                      and reviewing the scanned copy of the
         only identify this scenario by pulling up
         voter registration application.

         It is also possible that some voters had to vote provisionally
                                                                          for the first time,
    f.

         because there was no record of registration. But county staff
                                                                          were able to

                                                                         the election through
         determine that the voter attempted to timely register before
                                                                                for some reason,
         the DMV, for example, but the registration did not get processed

         which makes their provisional ballot eligible to count. See N.C.G.
                                                                                S. § 163-

                                                        not come through, their provisional
         82.19(a). But because the DMV record did
                                                          form, and that form may not have
         application served as their initial registration
         included their driver's license, unlike if the record had
                                                                   come through from the

         DMV as originally intended.

                                             7




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           15.    As these examples demonstrate, it would require individualized, one-by-one,

   manual review of records by the county boards to determine if any voter on the challenged list

                                                                                                       not
   falls into one of these categorics, or possibly others. And for the issue of a prior registration

                                                                                   to attempt to identify
   linking to a new registration, it would require fairly complex data analysis
                                                                                   to the current, active
   potential older registrations for challenged voters that have not been linked
                                                                         it would require manual review
   registration in the database due to slight data mismatches. Then,

   of any such older registrations to see if any challenged voter actually registered prior to HAVA's
                                                                                            or the
   effective date or registered after HAVA became effective but included a driver's license
                                                                                           on that initial
   last four digits of a social security number, or indicated they lacked these numbers,
                                                                     to ensure that no voter was
   registration application. This sort of effort
                                                 would be required

                                               after   the effective date of HAVA without providing
   erroneously identified as having registered
                                                                         it.
   the identification information at issue or stating that they lacked

                                                          I am also familiar with the hitory of the
           16.        general counsel to the State Board,
                                                                     the years, and I have access to
   voter registration application form created by the agency over
                                                                 are public records. Attached as Exhibit
   records of historical versions of these forms, all of which
                                                                                        and the
   A to this affidavit isa demonstrative table showing the fields on the application
   instructions on the application, version by version, since 2003,

           This concludes my affidavit.

          this the 2 Say of February, 2025.


                                                                         at
                                                                   Paul Cox
                                                                                    MM.

                                                                   General Counsel
                                                                   N.C. State Board of Elections




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                                                    p
         Woms    S7q) aw a10J0q paquosqns pus           "$t0z 'Areniqa,y Jo AP




      tea,




             :




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                          EXHIBIT A




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Year   HAVA Fields                                                                                                                                                               HAVA Instructions (typically o the reverse page)           on


2003
             Drivers License Number:                                                                                                                                                                                                                          TBFNTIFICATION REQUIREMENT
             If you do not have a Driver's license, then list the last four digits of                                                                                                Tf you do not have a driver's       or       security number, and this form is submaitted by mail, and you have never register to votem th        YOU are
                                                                                                                                                                                     registering in. you mustsend.with this application, either a.)a copy of current and valid photo identification, or b.) a copy of a current utility bill. bank
             vour Social Secuaity Number:                                                                                                                                            statement, government check, paycheck, or other government document that shows che name and address of the voter. you do not provide the nformation
                                                                                                                                                                                     requested above, you will be required to provide to election officials either a. or b. above the first time vou «ote at a voting place or by absentee ballot.
                                                                                                                                                                                                                                                                        ¥
2004           D Number                                                                                                                                                                                                                                                         ENTIFICATION REQUIREMENT
              I you hae a HC                   check here end
                                                                                                                                                                                          tfyou do nol have a driver's license of socia security number, ate submitting this farm by mail, and have never registered to vote in the county mn which you are now registenng, you Musi send, wrth this
                                                                                                                                                                                          'epplicaton ether a copy of:curent and valid photo ientfication, OR acpyofa current ubty bal, bank statement, government check, paycheck, or other government! document thal shows your name.
              print the number where indicated bebw
                                                                                                                                                                                                                              the                                                                                    whan               the

            UD License No
              F you have no NC drner's         check here and
              print your Sorel             where ndcaied bekw


              OOSSN (Last 4 Digits)
              | you   have no NC driver's icenee or SSN check here
       y
       **
              Ot have no NC driver's license or SSN

2005        ID Number
            ysu heme a 42 dower's loaned check we and                                                                                                                                           IDENTIFICATION REQUIREMENT
            Pret the           hare incited hate
                                                                                                                                                                                          Hyoude nal have a divers jeonse or         nia
                Livense No.                                                                                                                                                                        number,                    Bus formby mall
                                                                                                                                                                                          and have never                to vote in the county
            leu bone       AG dears (range, check
                        Socal Secumy No where ree         below                                                                                                                                    you ane now                  you must send
                                                                                                                                                                                          with thes              ether acopy of currant and
            [SSN (Last 4 Digits}                                                                                                                                                          valid photo                OF a copy of a
                 have no AC dimes 9           or SSN check here
                                                                                                                                                                                          ubhty bill, bark          government check,
                                                                                                                                                                                                       a cther goverment document
       "TCO have no NC drivar's license or SSN                                                                                                                                            Shows your nema end address Hyon donot
                                                                                                                                                                                          provide: the information requested abaya,

                                                                                                                                                                                          when you vate tor the


2006                                                                                                                                                                                  Requirements: PLEASE READ
                                   Do you have a NC dnver's license or NC dentification card?            Yes O No Hcpriver             of dentification Numbe
                                                                                                                                          |


        Personal      or                                                                                                                                                              ®      To be eligible to vote m he county you are registering tn, you musi have resided in that county for at least 30 days before the day of the
        identification Do you have a U.S issued Sociat Secunty Number?                                   YesO   No                                                                           etection
        Number                                                                                                       Social Secunty Number (LastFour Digs Are Required
                                                                                                                                                                                             Ifyou are regrstenng by mail, and cannot provide a valid ID number in Section 2. you must submil a copy of one of the following forms of
                                                                                                    O ves O                                                                                  current and valid identification with this application If you do not provide this information, you will be required to provide one of these
        {Required}
                                                                                                                 Noy.Loto Vater Regstraten a ter
                                   Have you been assigned a NC State Voter Number?...                                                                                                        forms of ID to an election official when you vote for the first time in thts county
                                                                                                                                                                                                        A Current and vakd photo identification
                                                                                                                                                                                                        A current utility bill or bank statement government check or paycheck oa government document that shows your name and
                                                                                                                                                                                                        address as it appears on tivs application

                       Do you hos
2007    Sechon
                                                                    the number                   Ove Jie                                                                                  Requirements:                    PLEASE READ
        Forsanet
        identification   you do not havea                       Ksued card, do you have a U.S.
                                                                                                                                   K    X                                                 ®Tobe el             to vote m the county you are registenng 1n, you must have resided in that county for at least 30 days.
                                                          Mumbor? tf yas, provide test
        Mumber                                                                                                  Socal Security           fLost Four
                                 Hove you ben assigned               State Voter Regrstation
        [Requiend|               Humber? If yes. provide unless: you                   of the    Tyrer   tte    UC Stato Voter Registration Humber
                                                                                                                                                                                          elf you are registering by mail. and cannot provide a valid ID number     Section 2. you must submut a copy of one of
                                                                                                                                                                                           the following forms ofT current and vale identification with this application If you do not provide this information,
                                                                                                                                                                                           you will be required to provide one of these forms of ID to an election official when you vote for the first tme in this
                                                                                                                                                                                           county.
                                                                                                                                                                                                     A current and valid photo identification
                                                                                                                                                                                                     Ashows
                                                                                                                                                                                                        current utility bill. or bank statement, government check or payeheck, ora go vernment document that
                                                                                                                                                                                                                  name and adress as it             on tus
                                                                                                                                                                                                                your                                  apears                application




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                                                                                      Case 5:24-cv-00731-M-RJ                                                            Document 78-2                         Filed 04/21/25                                        Page 60 of 64
2008                               Do you have a NC driver's license or NC identification card
        Section 2                  ssued by DMV? If yes, provide Ihe number
                                                                                                                 Tyres No
        Identification                                                                                                                              Requirements: PLEASE READ
         (Required)
                                   If you do not have a DMV-issued card, do you have a                US          Yes     ! No
                                                                                                                                                    ¢ To be
                                                                                                                                                            eligible to vote in the county you are registering in,
                                   ssued Sociat Secu rity Number? Ifyes, provide ast 4 digits
                                                                                                                                                      you must have resided in that county for at least 30 days
                                                                                                                                                            before the day of the election.
                                                                                                                                                    * If you are registering by mail, and cannot provide a valid
                                                                                                                                                            ID number in Section 2, you must submit a copy of one of
                                                                                                                                                            the following forms of current and valid dentification with
                                                                                                                                                            this application. If you do not provide this information, you
                                                                                                                                                            will be required to provide one of these forms of ID to an
                                                                                                                                                            election official when you vote for the first time in this
                                                                                                                                                            county:
                                                                                                                                                              A current and valid photo identifcation
                                                                                                                                                        -
                                                                                                                                                              A current utility bill, or bank statement, government
                                                                                                                                                              check or paycheck, or                   document that
                                                                                                                                                              shows your name and                 :    pears on this
                                                                                                                                                              application.


2009     3    Do you have a NC Driver's License or DMV-issued identification card? If yes, provide the number.    [Yes No                               Requirements:
               you
             yes,
                         not have        DMV-issued license or ID card, do you have a Social Security Number?
                                last 4 digits.                                                                    C Yes    C)No   XXX-XX-                 To be eligible to vote in the county you are registering in. you must
                                                                                                                                                          have rest    in that county for at least 30 days before the day of the
                                                                                                                                                             election.
                                                                                                                                                        ©    If you are registermg by mail. and cannot provide a valid ID number
                                                                                                                                                             in Section 3. you must submut a copy of one of the following forms
                                                                                                                                                             of current and valid identification with this application. If you do not
                                                                                                                                                                  de this information. you will be required to provide one of these
                                                                                                                                                                    of ID to an election official when you vote for the first time in
                                                                                                                                                             this county:

                                                                                                                                                                Acurrent and valid photo identification
                                                                                                                                                                A current utility bil or bank statement.                    check or
                                                                                                                                                                paycheck. or a government document that shows               ame and
                                                                                                                                                                address as it appears on this application.

2010   No record of changes                                                                                                                         No record of changes

2011   No record of changes                                                                                                                         No record of changes

2012     3    Do you have a NC Driver's License or DMV 45sued identification card? if yes, provide the number        ] No
                                                                                                                 C Yes
                                                                                                                                                    No record of changes
               you do not have a
             yes, provide the last 4 digits,
                                             4ssued license or        Card, do you    have a
                                                                                                                 Tye Ne           XXX XX       :




2013         Ozte of Bath MMDOYYYY                         State of                Birth
                                                                                                                                                        Voter Hdentification (ID) Requir ements
        3                                                                                                                                                                                              Under federal and state law. if
                               i                                                                                                                        Help America Vote Act ID Requirements
             Wyou know your NC Voter Ragistrat on Number, enter 4 below.                                                                                you are registering and cannot provide a valid ID number in Setion 3. you
                                                                                                                                                        should inchide with this application a copy of one of the documents below:
                                                                                                                                                           © A current and valid photo ID.
              you    a    NCdiv        license or nonoperators ID card, enter the number bolow.
                                                                                                                                                           » A current utility bill, bank sttement, government check, paycheck, or
                                                                                                                                                             other government document that shows your name and address.
             Enterthe last 4           'your SSN.                                                                                                       Tf you do not provide a valid ID nmmber on your application or submit a
                                                           E     'Check here lf you do not havea NC
                                                                 drivers license, ID ard, or a SSN.
                                                                                                                                                        copy of one of the documents noted above, you must show ID the first time
                                                                                                                                                        you vote.



2014   No record of changes                                                                                                                         No record of changes




                                                                                                                                                    2




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2015         Date of Birth MMDDYYYY (Requized:                  State of Birth/Country of Birth
        3                                                                                                                                                   Identification Requirements:
             Byou know your NC         ter Registration Number, enter it below.                                                     Registration ID    Under federal and state law, if you register to vote by mail and
                               r   a                        7          5              T       r     1                               do not provide a valid identification number in Section 3, you must include a
                                                                                                                                    copy of one ofthe following documents with this application:
             Fyou have al NC divers ficanse orEnonoperators card, enter the umber below.                                                ®    Acurrent and valid photo ID.
                               r   a                        1                                 r
                                                                                                                                        ®    A current utility bill, bank statement government check, paycheck, or
             Enter the last 4 digits of your SSN
                                                                                                                                             other government document that shows your name and address.
                                                                       Check here if you do not have a NC
                                                                       drivers license, Dead, or 3 SSN.
                                                                                                                                    If you do not provide a valid identification number in Section 3 or submit a copy
                                                                                                                                    of one of the above identification documents, you must present one of the above
                                                                                                                                    identification documents the fist time you appear to vote.

2016             Date of Birth MMODYYY Required                        State of Barth/Country of Birth
        3                                                                                                                           Identification Requirements:
                 ifyou know yourNC Vater Riag tration Number, enter it below.                                                       Registration ID    Under federal and state law, if you register to
                                                    "=r                                                 r --5---1                   vate by mail and do not provide a valid identification number in
                                                                                                                                    Section 3 on this form, you must enclose a copy of one of the
                                                                                                                    q
                                                        1                      1                        1      1




                 you have a NC drivers license or non-operators ID card, enter the number below.                                    following documents with this application:
                                                                                                                                       *   Acurrent and valid photo ID.
                                                                                                                                       *   Accurvet utility bill, bank statement, government check,
                 Enter the last adigitsof your SSN.
                                                                               Check here if you do not have aNC                           paycheck, or other government document that shows
                           1                                                   drivers           card. or a SSN.                           your name and address.
                                                                                                                                    If you do not provide the identification information listed above,
                                                                                                                                    you will be asked to show ID the first time you present to vote.

2017   No record of changes                                                                                                     No record of changes


2018   NORTH CAROLINA VOTER REGISTRATION APPLICATION (fields in red text are required)
                                                                                                                                     Identification Requirements
                                                                                                                                     Registration ID-
                                                                                                                                                       Under federal and state law, if you apply to register to vote and
             Provide your date of birth and identification informadion.                                                              do not provide a valid identification number in Section 3 on this form, you must
                                                                                                                                     enclose a copy of one of the following documents with this application:
       Date of                                                  State or Country   of Birth

                                                                                                                                            A current and valid photo ID
                                                                                                                                        :   A current utility bill, bank statement, government check, paycheck, or
       NC Driver License or NC DMV ID Number                    ast Four Di        of Social Security Number                                other government document that shows your name and address

                                                                                                                                     If you do not provide a valid form of identification, you will be asked to show ID
             Check if you do not have adriverlicense            State Voter Repistration Number Optional                             the first time you present to vote.
             or Social Seourty number.                             locate, cheek Vater        zwan NC SBE




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2019    NORTH CAROLINA VOTER REGISTRATION APPLICATION (fields in red text are required)
                                                                                                                              You are required fo provide your date of 'birth if you have a NG dnver lense or non-operators Hhentification number, provide this number. If
                                                                                                                              you de not have a NC driver license or ID card, then provide the last four digits of your social security number If you have neither a NG driver
                                                                                                                              license MC OMY ID card or a social secunty number and you are registenng to vote for the first time in Nerth Carolina, attach a copy of a
                                                                                                                              Current         bill, bank statement government chech paycheck or other government document that shows your name and adress to this
            Provide your date of birth and identification nformation                                                          application
                                                             Count     ot Birth




       NG Diver License or NC CAM ID Number ast 4 Digits of Sucial Security Number



            Check if    de net have adrver                Voter            Number Couonal
       O ficanse oryouSocial Security number          roca, Dhock "Voter      'tye NOSBE




2020   NORTH CAROLINA VOTER REGISTRATION APPLICATION (fields in red text are required)
                                                                                                                              You are required to provide your date of birth. If you have a NC driver license or non-operator's identification number,
                                                                                                                              orevide this number. If you do not have a NC driver license or 1D card, then provide the last four digits of your social security
                                                                                                                              number. If you have neither a NC driver license, NC DMV ID card or a social security number and you are registering to vote
                                                                                                                              for the first time in North Carolina, attach a copy of a current utility bill, bank statement, government check, paycheck, or
        6                  &   date fr         tr   au.      entfication information.                                         other government document that shows your name and address to this application.
                                                             State or Country of Birth



       NC Driver License or NC DAVID Number                  Last4 Digits of Social Securrty Number


             Check if you donot have State Voter Registration Number (Optional. Ta
                                     Jocate, check "Voter Lookup" at ww NCSBEgov )
             Social Security number.




2021
         NORTH CAROLINA VOTER REGISTRATION APPLICATION (fields in red text are required)
                                                                                                                    3. You are required to rowde your date of birth tf you have a NC driver license or non-operator's identification number,   this   If you do not have a NC driver license or
                                                                                                                                                       d gits
                                                                                                                             ar            North Caro ina, att
                                                                                                                      address To this appl

              Provide your date of birth and tdentification information.
       Cate nf Bath (MM/DOAYY YY                              State of County of

                               t
       NC Driver License or NC DMV ID Number                  Last 4 Digits of Social Security Number


             Check if you donothave State Vote f Registration Number (Optional: To
             a drier license or      locate, check "Voter Lookup" at aw NCSBEgov }
             Social Security number.




                                                                                                                4




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2022
           NORTH CAROLINA VOTER REGISTRATION APPLICATION (fields in red text are required)
                                                                                                                                                                           You are required to provide your date of birth. If you have a NC driver license or non-operator's identification number,
                                                                                                                                                                           provide this number. If you do not have a NC driver license or 1D card, then provide the last four digits of your social security
                                                                                                                                                                           number. tf you have neither a NC driver license, NC DMV ID card or a social security number and you are registering to vote
                                                                                                                                                                           for the first time in North Carolina, attach a copy of a current utility bill, bank statement, government check, paycheck, or
               Provide your date of birth and identification information.                                                                                                  other government document that shows your name and address to this application.
       Date of Birth (MM/DD/YYYY}                    State or Country of Birth

                   f          f
       NC Driver License orNCDMVID Number            Last 4 Digits of Social Security Number



              sreck if you donot have State Voter Registration Number {Optional: Ta
              a drives license or     facate, check "¥oter Lookup" at www.NCSBE.goy.}
              Social Security number.




2023
       NORTH CAROLINA VOTER REGISTRATION APPLICATION (fields in red text are required)
                                                                                                                                                             3. You are required to provide your date of birth If you have a NC driver license or non-operator's identification number, provide this number tf you do not have aN
                                                                                                                                                                driver cense card, then provide thelast four digits of your soc al security number
                                                                                                                                                                number and you are registerin to vote for the first time in North Carolina, attach a copy o a current utility bill, bank statement, govern ent check, paycheck, or
                                                                                                                                                                other government document that                           addres to this applicat on


              Provide your date of birth and identification information.
       Date of Birth (MM /DD/YYY¥}                  State or Country af Birth

                   i         é
       NC Driver License or NC DMV ID Number        Last 4 Digits of Social Security Number


             Check if you donothave Staie Voter Registration Number (Optional Ta
       a
             a driver license or     iocate, check "Woter Loakup" at www.NCSBE.gov.)
             Social Security number.



2024
       North Carolina Voter Registration Application sections in red are required}
                                                                                                                                                                 3. Provide your date of birth. If you have an NC driver's license or NCDMV ID number, om          provid ths number. tf not, you must provide the ast four digitsof your
                                                                                                                                                                    social security number. If you have none of these ID numbers and you are registering to vote for the first time in North Carolina, you must check the box indicatig that
                                                                                                                                                                    you do not have these forms of identification. If you check that box, you may attach to this application a copy of a current and valid photo identification, utility bi , bank
                                                                                                                                                                                                         hk,
                                                                                                                                                                    statement, government check, paycneck, or other government document that shows your name and address.
        dentification                                                                     INC Driver's              ID
                                                                                                     OR, #youdo not haweone
       information
                                         Date of birth                           AND      Last 4 digits of your Social Security number
       Required.
                                         (mmddyy)                                                    on
                                                                                         1 do not have a driver's icanse/DMV ID of Social Security number.




                                                                                                                                                             5




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